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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:
                                                    Chapter 11
96 WYTHE ACQUISITION LLC,
                                                    Case No.: 21-22108 (RDD)
                           Debtor.

96 WYTHE ACQUISITION LLC,

                               Plaintiff,           Adv. Pro. No.: 22-____________

               v.

STATE NATIONAL INSURANCE COMPANY,
RLI INSURANCE COMPANY, GERSON
MENCIA, WILLIAM LEWIS, JUAN L.
RAMIREZ, CARMEN NINA RAMIREZ and
GRANDFIELD REALTY CORP.,

                               Defendants.




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                        ADVERSARY PROCEEDING COMPLAINT

        96 Wythe Acquisition LLC, the above-captioned debtor and debtor in possession

(the ”Debtor” or the “Plaintiff” ), by its undersigned attorneys, Mayer Brown LLP and Backenroth,

Frankel & Krinsky, LLP, submits this Complaint (the “Complaint”) against Defendants STATE

NATIONAL INSURANCE COMPANY (“SNIC”) and RLI INSURANCE COMPANY (“RLI”)

(collectively, “Insurance Defendants”), and against interested parties GERSON MENCIA,

WILLIAM LEWIS, JUAN L. RAMIREZ, CARMEN NINA RAMIREZ and GRANDFIELD

REALTY CORP. (collectively “Underlying Plaintiffs”) (with service upon counsel for the

Underlying Plaintiffs), and allege as follows and allege as follows:

                                 NATURE OF THE ACTION

       1.      Plaintiff brings this action against SNIC and RLI to resolve insurance coverage

disputes arising out of underlying bodily injury actions described below (“the Personal Injury

Actions”) and one (1) property damage action (“the Grandfield Action” and with the Personal Injury

Actions, “the Underlying Actions”) stemming from the construction of a building, the Williamsburg

Hotel, located at 96 Wythe Avenue, Brooklyn, New York.

       2.      The Personal Injury Actions for which Plaintiff is seeking coverage are (i) Juan L.

and Carmen Nina Ramirez v. The Williamsburg Hotel BK LLC, et al., Supreme Court/Kings County

- Index No. 514500/2017 (the “Ramirez Action”); (ii) Gerson Mencia v. 96 Wythe Acquisition LLC,

et al, Supreme Court/Kings County – Index No. 513214/2016 (the “Mencia Action”); and (iii)

William Lewis v. 96 Wythe Acquisition LLC, Supreme Court/Bronx County – Index No.

23716/2015E (the “Lewis Action”).

       3.      The Grandfield Action for which Plaintiff is seeking coverage is Grandfield v. 96

Wythe Acquisition LLC, et al, Supreme Court/Kings County - Index No. 507323/2014.



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       4.       Plaintiff is seeking a declaration of the Insurance Defendants’ coverage obligations

under a primary insurance policy issued by SNIC, Policy No. PUG1200249, effective 9/28/2012 –

9/28/2015 (the “SNIC Policy”) and an excess insurance policy issued by RLI, Policy No.

RLX021775, effective 11/30/12 - 11/30/15 (the “RLI Policy”, and with the SNIC Policy, the

“Policies”), under which Plaintiff and Dimyon Development Corp. (“Dimyon”) are named insureds.

       5.       Specifically, Plaintiff seeks a declaration that there is coverage for the Plaintiff and

Dimyon in the Underlying Actions under the terms, conditions, exclusions and endorsements of the

Policies.

       6.       Upon information and belief, SNIC and RLI dispute Plaintiff’s position that SNIC

and RLI must indemnify the Plaintiff and Dimyon in the Underlying Actions pursuant to the

Policies.

       7.       Upon information and belief, SNIC is and has been providing a defense to the

Plaintiff in the Underlying Actions and has paid out settlements in other actions under the Primary

Policy. As will be set forth below, in July 2020, SNIC reserved its right to disclaim coverage of

the Underlying Actions based upon the Primary Policy’s Designated Project Coverage

Endorsement #17, which identifies the location of the project and includes therein a description of

the project as “[t]he demolition of one (1) vacant commercial building and the ground up

construction of a seven (7) story, one hundred fifty-five (155) room hotel, 90,000 SQ FT located

at: 96 Wythe Avenue Brooklyn, NY 11211.” According to SNIC’s July 29, 2020 reservation of

rights letter, “[d]iscovery has revealed the project located at 96 Wythe Avenue in Brooklyn was for

the construction of a 10-story building.”

       8.       Upon information and belief RLI disclaimed coverage of the Underlying Actions

based upon the same “Designated Project Endorsement” and based upon a similar provision



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contained in the RLI Policy, the “Designated Premises And/Or Projects Limitation,” also claiming

in 2020 that the building is more than seven (7) stories high.

       9.          Insurance Defendants’ reliance on the “Designated Project Coverage Endorsement

and the “Designated Premises And/Or Projects Limitation” is misplaced and the disclaimers based

on those policy provisions are erroneous and untimely.

       10.         Upon information and belief RLI also disclaimed coverage of the Grandfield Action

based on alleged late notice.

       11.         RLI’s disclaimer based on late notice is erroneous.

       12.         Upon information and belief, this action will resolve these and other issues

pertaining to (i) Insurance Defendants’ obligations to provide insurance coverage to Plaintiff under

the Policies and (ii) proofs of claim filed in the Debtor’s Chapter 11 proceeding relating to both the

Grandfield Action and the Mencia Action that are subject to claim objections and motions seeking

estimation of such claims filed by the Debtor, discussed in more detail below.

                                    JURISDICTION AND VENUE

       13.         This Adversary Proceeding arises in and relates to the Plaintiff’s case pending

before this Court under chapter 11 of the Bankruptcy Code (the “Case”).

       14.         This Adversary Proceeding is brought pursuant to 11 U.S.C. § 541 and Rules

7001(1) and 7001(9) of the Federal Rules of Bankruptcy Procedure to obtain a declaratory judgment

regarding coverage and the recovery of the proceeds of Policies, which constitute property of the

Debtor’s estate.

       15.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b). The Plaintiff confirms its consent, pursuant to

Bankruptcy Rule 7008, to entry of a final order by the Court.



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       16.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          THE PARTIES

       17.      At all relevant times, the Plaintiff was and still is a domestic limited liability

company that is duly authorized to do business in the State of New York, with a headquarters and

principal place of business located in Brooklyn, New York 11249.

       18.      At all relevant times, the Plaintiff was and still is the owner of The Williamsburg

Hotel and real property located at 96 Wythe Avenue, Brooklyn, New York 11249.

       19.      The Plaintiff and Dimyon are named insureds under the Policies.

       20.      Defendant SNIC is an insurance company, duly licensed to issue insurance policies

in the State of New York, with its office and principal place of business located in Bedford, Texas.

       21.      Defendant RLI is a specialty insurance company organized under the laws of the

State of Illinois with its principal place of business at 9025 North Lindbergh Drive, Peoria, Illinois

61615. RLI has multiple offices in New York City.

       22.      Gerson Mencia (“Mencia”) is a plaintiff in the Underlying Personal Injury Action

Gerson Mencia v. 96 Wythe Acquisition LLC, et al, Supreme Court/Kings County, Index No.

513214/2016

       23.      William Lewis (“Lewis”) is a plaintiff in the Underlying Personal Injury Action

William Lewis v. 96 Wythe Acquisition LLC, Supreme Court/Bronx County, Index No.

23716/2015E.

       24.      Juan L. Ramirez (“Ramirez”) and Carmen Nina Ramirez are plaintiffs in the

Underlying Personal Injury Action Juan L. and Carmen Nina Ramirez v. The Williamsburg Hotel

BK LLC, et al., Supreme Court/Kings County - Index No. 514500/2017.




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       25.      Grandfield Realty Corp. (“Grandfield”) is a plaintiff in the Underlying Grandfield

Property Damage Action Grandfield v. 96 Wythe Acquisition LLC, et al, Supreme Court/Kings

County - Index No. 507323/2014.

                                   FACTUAL BACKGROUND

       26.      This action relates to liability insurance coverage and indemnity for lawsuits

stemming from and arising in the context of the construction of the Williamsburg Hotel in

Brooklyn, New York.

       27.      The Plaintiff is a New York corporation and was formed in 2014 to purchase the

premises at 96 Wythe Avenue, Brooklyn, New York to construct a 7-story hotel on it (the

“Project”).

       28.      Dimyon, a New York corporation that performs construction services, was retained

as the general contractor for the Project.

       29.      The Project was originally scheduled to involve a construction of a 7-story hotel,

with 5 guest room stories and a mechanical floor and parking, but was increased to include a hotel

support floor below the guest rooms, a roof deck and water tower, at the same location, with the

same number of guest room stories, the same number of rooms, and with the permission of the NYC

Department of Buildings.

       30.      The Project has been at the same height and number of floors since 2014, when the

structure was completed. While interior construction continued thereafter, the height and size of the

Project has been visible to any person, including inspectors on behalf of the Insurance Defendants

and in any photos of the Project since 2014.

       31.      The Project was completed and the hotel opened in December, 2016.




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 I.        THE UNDERLYING ACTIONS

           A.   The Ramirez Action

          32.   Juan Ramirez (“Ramirez”) alleges that while using a grinder, he fell between 16”

and 36” from a secondary (higher) scaffold platform to a lower primary platform in a construction

related accident on August 21, 2016 and sustained bodily injury, while being employed at the

Project.

          33.   The claimed damages were not the result of additional building height or additional

floors.

          34.   Ramirez alleges liability under Labor Law §§ 200, 240(1) and 241(6) and general

negligence.

          35.   Carmen Nina Ramirez asserts loss of services in a derivative action.

          36.   The Plaintiff and Dimyon are being defended by counsel assigned and paid for by

SNIC.

          37.   The Plaintiff notified its broker for the Policies at the inception of the claim in order

to place RLI and SNIC on notice.

          38.   Ramirez and the Debtor entered into a stipulation that was approved by this Court,

wherein, among other things, Ramirez was granted limited relief from the automatic stay and

Ramirez waived any claims against the Debtor’s estate and agreed to seek recovery solely from

available proceeds under the Policies. [Dkt. No. 120].

           B.   The Lewis Action

          39.   Lewis alleges that, on November 5, 2014, while performing work loading beams at

a worksite located at 96 Wythe Avenue, Brooklyn, New York, a beam fell on his toes in a

construction related accident causing bodily injury.



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         40.    The Lewis’s accident was not the result of additional building height or additional

floor.

         41.    Lewis alleges liability under Labor Law §§ 200, 240(1) and 241(6) and general

negligence

         42.    The Plaintiff and Dimyon are being defended by counsel assigned and paid for by

Liberty Mutual Insurance Company, the insurance carrier for Lewis’s employer All Island Masonry

& Concrete.

         43.    Lewis and the Debtor entered into a stipulation that was approved by this Court,

wherein, among other things, Lewis was granted limited relief from the automatic stay to pursue

the Lewis Action and Lewis waived any claims against the Debtor’s estate and agreed to seek

recovery solely from available proceeds under the Policies. [Dkt. No. 220].

         C.     The Mencia Action

         44.    Mencia alleges that, on September 18, 2015, he fell from a ladder onto the floor in

a construction related accident at a worksite located at 96 Wythe Avenue, Brooklyn, New York and

sustained bodily injury.

         45.    The claimed damages (which are subject to dispute) were not the result of the

additional building height or additional floors.

         46.    Mencia alleges liability under Labor Law §§ 200, 240(1) and 241(6) and general

negligence.

         47.    The Plaintiff and Dimyon are being defended by counsel assigned and paid for by

SNIC.

         48.    The Plaintiff notified its broker for the Policies at the inception of the claim in order

to place RLI and SNIC on notice.



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        D.      The Grandfield Action

        49.     Grandfield is an owner of a neighboring property, and alleges that the Plaintiff

excavated beneath Grandfield’s property and improperly installed underpinning causing damage to

Grandfield’s property.

        50.     In pertinent part, among other claims, Grandfield alleges negligence, trespass and

nuisance.

        51.     The claimed damages (which are subject to dispute) did not occur as a result of

additional building height or additional floors.

        52.     The Plaintiff notified its broker for the Policies at the inception of the claim in order

to place RLI and SNIC on notice.

        53.     The Plaintiff and Dimyon are being defended by counsel assigned and paid for by

SNIC.

II.     THE INSURANCE POLICIES

        A.      The SNIC Insurance Policy

        54.     The Plaintiff purchased the SNIC Policy, a general liability insurance policy, from

SNIC, with policy effective dates of 9/28/12-9/28/15 and a limit of liability of $1,000,000 for each

occurrence.

        55.     The Plaintiff is a named insured under the SNIC Policy.

        56.     Dimyon is a named insured under the SNIC Policy, by amendment.

        57.     The SNIC Policy provides: “We will pay those sums that the insured becomes

legally obligated to pay as damages because of “bodily injury” or “property damage” to which this

insurance applies.” See Exhibit A.

        58.     The SNIC Policy provides:



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                                        ENDORSEMENT #17

                             DESIGNATED PROJECT COVERAGE

        Notwithstanding anything to the contrary hereunder, such coverage as provided
        by this policy will only apply to the construction project being performed at the
        following location:
        The demolition of one (1) vacant commercial building and the ground up
        construction of a seven (7) story, one hundred fifty-five (155) room hotel, 90,000
        SQ FT located at:
                                        96 Wythe Avenue
                                       Brooklyn, NY 11211

        Premium shall be deemed fully earned at the conclusion of the project. Id.


       59.       All premiums owed for the SNIC Policy have been paid and accepted.

        B.       The RLI Insurance Policy

       60.       The Plaintiff purchased the RLI Policy, an excess liability insurance policy from

RLI, Policy No. RXL0261775, with policy effective dates of 11/30/12-11/30/15 and a limit of

liability of $10,000,000 for each occurrence.

                 This policy, except where provisions to the contrary appear herein,
                 is subject to all of the conditions, agreements, exclusions, and
                 limitations of and shall follow the underlying insurance in all
                 respects. This includes changes by endorsement.

See Exhibit B.

       61.       The RLI Policy also provides:

                 Subject to the other provisions of this policy, we will pay on behalf
                 of the insured the insured’s ultimate net loss if such loss results from
                 an occurrence insured by underlying insurance.

Id.

       62.       Under “DESIGNATED PREMISES AND/OR PROJECTS LIMITAITON,” the

RLI Policy provides:

                 As respects premises owned, maintained or used by the insured or
                 projects performed by or on behalf of the insured, this insurance

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               applies only to bodily injury, property damage, personal injury and
               advertising injury arising out of:

                    1.   The ownership, maintenance or use of the premises shown
                         in the Schedule below and operations necessary or
                         incidental to those premises; or

                    2.   The project shown in the Schedule.

                    SCHEDULE

                    Premises:

                    Project:

                    Ground up construction of a 7-story, 130 room hotel located
                    at 96 Wythe Avenue, Brooklyn, NY.

Id.

       63.     All premiums for the RLI Policy have been paid and accepted.

       64.     Upon information and belief, representatives of RLI have visited the site numerous

times and taken photos showing the exact height and number of floors.

III.    SNIC’S IMPROPER DENIAL OF COVERAGE

       65.     By reservation of rights letter dated July 29, 2020 (the “July 29 ROR”) from SNIC’s

counsel, Rubin, Fiorella, Friedman & Mercante LLP, SNIC provided a reservation of rights with

respect to the Underlying Personal Injury Actions of Ramirez and Mencia.

       66.     The July 29 ROR advised that “[d]iscovery has revealed the project located at 96

Wythe Avenue in Brooklyn was for the construction of a 10-story building.” See Exhibit C.

       67.     The July 29 ROR also advised that SNIC is defending both the Plaintiff and

Dimyon in those matters and will continue to do so pending resolution of the same. Id.

       68.     The July 29 ROR further advised that “with respect to the aggregate, there remains

$1.5M remaining because of prior indemnity payments.” Id.



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       69.      The July 29 ROR also advised that SNIC reserves the right to disclaim any

indemnity obligation for any claims including Ramirez and Mencia, arising out of the Project “to

the extent it is determined that the project was not for the construction of a 7 story, one hundred

fifty-five (155) room hotel.” Id.

       70.      By reservation of rights letter dated October 20, 2014 (the “October 20 ROR”, and

with the July 29 ROR, the “SNIC ROR’s”) from SNIC’s attorneys Farber Brocks & Zane, LLP,

SNIC offered to provide a defense in the Grandfield Action to the Plaintiff, Dimyon and other

members, officers, directors or employees, subject to a reservation of rights, pending further

investigation and subject to SNIC’s continuing investigation. See Exhibit D.

       71.      The SNIC ROR’s are based on inaccurate information.

       72.      The SNIC ROR’s are based on a misinterpretation of the SNIC Policy.

       73.      SNIC’s unreasonable delay vitiates any disclaimer by SNIC.

       74.      The SNIC ROR’s do not serve as a disclaimer or denial of coverage.

       75.      SNIC has wrongfully refused to acknowledge that it has an obligation to indemnify

the Plaintiff and Dimyon in the Underlying Actions.

       76.      As a result, a justiciable controversy exists between SNIC on the one hand and the

Plaintiff and Dimyon on the other hand, concerning the rights under the terms and conditions of the

SNIC Policy with regard to coverage for the Plaintiff and Dimyon in the Underlying Actions.

       77.      Plaintiff has no adequate remedy at law.

IV.     RLI’S IMPROPER DENIAL OF COVERAGE

       78.      By reservation of rights letter dated October 7, 2016 (the “October 7 ROR”), RLI

reserved its rights to deny coverage of the Lewis Action, citing numerous policy provisions

including the Designated Premises And/Or Projects Limitation.



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       79.       By reservation of rights letter dated August 21, 2016 (the “August 21 ROR”), RLI

reserved its rights to deny coverage of the Ramirez Underlying Personal Injury Action, citing

numerous policy provisions including the Designated Premises And/Or Projects Limitation.

       80.       By reservation of rights letter dated September 14, 2017 (the “September 14

ROR”), RLI reserved its rights to deny coverage of the Ramirez Underlying Personal Injury Action,

citing numerous policy provisions including the Designated Premises And/Or Projects Limitation.

See Exhibit E.

       81.       By reservation of rights letter dated August 29, 2018 (the “August 29 ROR”, and,

with the October 7 ROR, the August 21 ROR and the September 14 ROR, the “RLI ROR’s”), RLI

reserved all rights to deny coverage of the Ramirez Underlying Personal Injury Action, citing

numerous policy provisions including the Designated Premises And/Or Projects Limitation and

further advised that RLI disclaims to the extent the Project was not the ground up construction of a

7-story, 130 room hotel and that RLI also disclaims coverage to the extent the accident occurred

above 7 stories. See Exhibit F.

       82.       By a subsequent letter dated April 22, 2020 (the “Ramirez Disclaimer Letter”), RLI

disclaimed coverage of the Ramirez Underlying Personal Injury Action, stating:

                 On March 24, 2020, RLI was provided with the deposition transcript
                 of the plaintiff. In describing his accident, the plaintiff testified that
                 has [sic] was on the exterior scaffold on the eighth floor of 96 Wythe
                 Avenue, Brooklyn, NY when his accident occurred.

See Exhibit G.

       83.       The Ramirez Disclaimer Letter further stated: “Based upon this new information it

is RLI’s position that there is no coverage available” for 96 Wythe, Dimyon and other parties for

the Ramirez action. Id.




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       84.      By letter dated July 22, 2020 (the “Mencia Disclaimer Letter”), RLI disclaimed

coverage of the Mencia Underlying Personal Injury Action, stating: “We have recently learned that

the project located at 96 Wythe Avenue in Brooklyn was for the construction of a 10-story building.

Based upon this new information it is RLI Insurance Company’s (“RLI”) position that there is no

coverage available” for Plaintiff, Dimyon or any other party for the Mencia Action. See Exhibit

H.

       85.      The RLI ROR’s, the Ramirez Disclaimer Letter and the Mencia Disclaimer Letter

are based on inaccurate information.

       86.      The RLI ROR’s, the Ramirez Disclaimer Letter and the Mencia Disclaimer Letter

are based on a misinterpretation of the RLI policy and of the SNIC policy.

       87.      RLI’s unreasonable delay vitiates any disclaimers by RLI.

       88.      The Ramirez Disclaimer Letter and the Mencia Disclaimer Letter do not serve as a

disclaimer or denial of coverage.

       89.      By letter dated March 6, 2020, RLI asserted, among other things, that the failure to

give prompt written notice of the occurrence, claim and lawsuit in the Grandfield Action is a

violation of the RLI Policy’s conditions and voids coverage under the RLI Policy. See Exhibit I.

       90.      By letters to each of SNIC and RLI dated November 5, 2021, followed by second

letters dated December 28, 2021, the Debtor disputed the Insurers’ attempts to disclaim coverage

and reserve rights.

       91.      RLI does not assert that it has been prejudiced by the alleged late notice of the

Grandfield Claim or that ability of the RLI to investigate or defend the claim has been impaired.

       92.      Upon information and belief, RLI’s ability to investigate or defend the Grandfield

Claim has in no way been impaired.



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       93.       RLI has wrongfully refused to acknowledge that it has an obligation to indemnify

the Plaintiff and Dimyon in the Underlying Actions.

       94.       As a result, a justiciable controversy exists between RLI on the one hand and the

Plaintiff and Dimyon on the other hand, concerning the rights under the terms and conditions of the

RLI Policy with regard to coverage for the Plaintiff and Dimyon in the Underlying actions. Plaintiff

as no adequate remedy at law.1

V.      THE BANKRUPTCY PROCEEDINGS

        A.       General

       95.       On February 23, 2021, the Debtor filed a voluntary petition for relief under Chapter

11 of the Bankruptcy Code initiating the Case. The Debtor continues to operate its business and

manage its properties as debtor and debtor in possession pursuant to sections 1107(a) and 1108 of

the Bankruptcy Code.

        B.       The Debtor’s Chapter 11 Plan

       96.       On September 20, 2021, the Debtor filed its Chapter 11 Plan of Reorganization

[Dkt. No. 115], which was followed by the filing of its Second Amended Plan dated November

24, 2021 [Dkt. No. 196] (the “Plan”) and related disclosure statement. On December 1, 2021, the

Court entered an order approving the Debtor’s third amended disclosure statement [Dkt. No. 204]

(the “Disclosure Statement”). Subsequent Plan confirmation scheduling orders have been entered

and a hearing on confirmation of the Plan is scheduled for April 7, 2022, at 10:00 a.m.




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  The Debtor had filed a proceeding against the Insurers in state court, however, due to the exigencies of having the
insurance disputes addressed in connection with claim estimation for Plan purposes, the Debtor determined the best
course of action was to file an adversary proceeding complaint in this case.


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          C.     The Mencia Claim and the Grandfield Claim

          97.    By order dated June 2, 2021 [Docket No. 41], the Court initially fixed July 15, 2021

as the last day by which general creditors would be permitted to file claims in the Case and by

supplemental order dated November 5, 2021 [Docket No. 177], the Court fixed December 15, 2021

as the last day by which general creditors would be permitted to file claims in the Case.

          98.    On May 20, 2021, Grandfield filed a claim (Claim No. 5) in the amount of

$7,904,641.28, for claims arising from the Grandfield Action (the “Grandfield Claim”).

          99.    On December 27, 2021 the Debtor filed a combined objection seeking to disallow

and expunge the Grandfield Claim and motion to estimate the Grandfield Claim at $0 [Dkt. No.

247] (the “Grandfield Claim Objection”). The Grandfield Claim Objection, among other things,

sets forth the basis for disallowing the Grandfield Claim, including Grandfield’s failure to support

its allegations, claims and damages and that any damages were pre-existing and/or not caused by

the Debtor. And like the Mencia Claim, even if liability against the Debtor were to be established,

insurance coverage under the Policies are available. For these reasons, the Debtor believes

whatever amount of the Grandfield Claim is determined to be valid will be covered under the

Policies, without the need for Grandfield to hold a direct claim against the Debtor’s bankruptcy

estate.

          100.   On January 24, 2022 Grandfield filed an Opposition (the “Grandfield Opposition

Motion”) [Docket No 343]. A hearing to consider the Grandfield Claim Objection and Opposition

Motion is scheduled for April 7, 2021.

          101.   On May 25, 2021, Mencia filed a claim (Claim No. 6) in the amount of $8,000,000

for claims arising from the Mencia Action (the “Mencia Claim”).

          102.   On December 23, 2021, the Debtor filed a combined objection seeking to disallow

and expunge the Mencia Claim and motion to estimate the Mencia Claim at $0 [Dkt. No. 248] (the

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“Mencia Claim Objection”). The Mencia Claim Objection, among other things, (i) sets forth the

basis for disallowing the Mencia Claim, including that the Debtor and Dimyon can establish the

equipment supplied to Mencia was sound but in any event were not provided by the Debtor or

Dimyon and that the vast majority of Mencia’s claimed damages are not related to the purported

injury and (ii) sets forth the basis for estimating the Mencia Claim at $0, where, even if liability

against the Debtor were to be established, there are many potential sources of recovery available

without having to resort to a direct claim against the Debtor, including monthly workers’

compensation payments, the subcontractor, and, most critically, insurance coverage under the

Policies.    For these reasons, the Debtor believes whatever amount of the Mencia Claim is

determined to be valid will be covered under the Policies, without the need for Mencia to hold a

direct claim against the Debtor’s bankruptcy estate

          103.   On January 19, 2022, Mencia filed an Opposition to the Motion by the Debtor

Objecting to Claim No. 6 Filed by Gerson Mencia and for an Order Seeking to Estimate the Claim

(the “Mencia Opposition Motion”) [Docket No 320]. A hearing to consider the Mencia Claim

Objection and Opposition Motion is scheduled for April 7, 2021.

                                     CLAIMS FOR RELIEF

                                     First Cause of Action
                 (Breach of Contract and Declaratory Judgment Against SNIC)

          104.   The Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

          105.   The SNIC Policy constitutes a binding contract.

          106.   The Plaintiff has complied with all terms and conditions contained in the SNIC

Policy.

          107.   The Plaintiff has demanded SNIC's performance under the SNIC Policy.


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          108.   Under the terms of the SNIC Policy, SNIC is obligated to provide insurance

coverage, including indemnity coverage, for any liability imposed against the Plaintiff in the

Underlying Actions, subject only to the SNIC Policy’s limits of liability.

          109.   SNIC has indicated it may refuse to provide coverage to the Plaintiff in breach of

its obligations under the SNIC Policy.

          110.   As a direct and proximate result of SNIC’s breach, the Plaintiff has incurred, and

is likely to incur in the future, substantial actual costs and damages, and such costs are continuing.

          111.   As a result of the foregoing, an actual and justiciable controversy exists between

the Plaintiff and SNIC regarding SNIC’s obligations to provide indemnification to the Plaintiff in

connection with the Underlying Actions, subject only to the SNIC Policy’s limits of liability.

          112.   The Plaintiff seeks a declaration and order that the SNIC Policy provides coverage

for the Underlying Actions, subject only to the SNIC Policy’s limits of liability.

                                SECOND CAUSE OF ACTION
                  (Breach of Contract and Declaratory Judgment Against RLI)

          113.   The Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

          114.   The RLI Policy constitutes a binding contract.

          115.   The Plaintiff has complied with all terms and conditions contained in the RLI

Policy.

          116.   The Plaintiff has demanded RLI’s performance under the RLI Policy.

          117.   Under the terms of the RLI Policy, RLI is obligated to provide insurance coverage

for any liability imposed against the Plaintiff in the Underlying Actions, subject only to the RLI

Policy’s limits of liability.




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       118.     RLI has wrongly declined to provide coverage to the Plaintiff in breach of its

obligations under the RLI Policy.

       119.     As a direct and proximate result of RLI’s breach, the Plaintiff has incurred, and is

likely in the future to incur, substantial actual costs and damages, and such costs are continuing.

       120.     As a result of the foregoing, an actual and justiciable controversy exists between

the Plaintiff and RLI regarding RLI’s obligations to provide indemnification to the Plaintiff in

connection with the Underlying Actions, subject only to the RLI Policy’s limits of liability.

       121.     The Plaintiff seeks a declaration and order that the RLI Policy provides coverage

for the Underlying Actions, subject only to RLI Policy limits of liability and that RLI thus has an

obligation to pay any and all losses suffered, or to be suffered.

                                      PRAYER FOR RELIEF

        WHEREFORE, The Plaintiff respectfully requests that this Court grant relief in their

favor entering a declaration and order that the SNIC Policy provides coverage for the Underlying

Actions and that the RLI Policy provides coverage for the Underlying Actions, along with any

other relief the Court deems just and proper.

                                                     Respectfully submitted,
  Dated: March 23, 2022
         New York, New York
                                                     By: /s/ Douglas Spelfogel
                                                     Douglas Spelfogel
                                                     Leah Eisenberg
                                                     Dabin Chung
                                                     MAYER BROWN LLP
                                                     1221 Avenue of the Americas
                                                     New York, New York 10020
                                                     Telephone: (212) 506-2500
                                                     Facsimile: (212) 506-1910
                                                     Email: dspelfogel@mayerbrown.com
                                                            leisenberg@mayerbrown.com
                                                            dchung@mayerbrown.com




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                                         Mark Frankel
                                         BACKENROTH FRANKEL
                                         & KRINSKY, LLP
                                         800 Third Avenue
                                         New York, New York 10022
                                         Telephone: (212) 593-1100
                                         Facsimile: (212) 644-0544
                                         Email: mfrankel@bfklaw.com

                                         Co-Counsel to the Plaintiff




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                                   EXHIBIT A
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   28 West 44th Street
       Suite 720
  New York, NY 10036



Dear Policyholder:

We are pleased to enclose your Commercial General Liability Policy as bound with State
National Insurance Company through our underwriting agency, Prime Specialty, Inc. Please
review it carefully.

In the event of a claim that may be covered under this policy, please forward all information
pertaining to said incident to:

National Claim Services, Inc.
PO Box 500698 (31150)
1301 Hightower Trail
Suite 210
Atlanta, GA 30350

Attention:     Henrietta Dyer, Vice President
Phone:         800-424-0132
Fax:           770-670-4070
Email:         hdyer@natlclaim.com

Please feel free to contact your broker if you should have any questions, comments or concerns
about your policy.

Very truly yours,




Kieran Xanthos                                  Derek McGuire

President and Chief Underwriting Officer        Vice President
Commercial General Liability Dept.              Commercial General Liability Dept.
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                                                                        28 West 44th Street
                                                                                 Suite 720
                                                                       New York, NY 10036


                                                          P. 212-685-6000 F. 646-625-3889


In consideration of the payment of the premium, in reliance upon the statements in the
declarations made a part hereof and subject to all of the terms of this policy, the Company
agrees with the Named Insured as follows:


                             COMMERCIAL GENERAL LIABILITY
                                 (OCCURRENCE FORM)


COMPANY:       STATE NATIONAL INSURANCE COMPANY


                                     DECLARATIONS


I.     NAMED INSURED:                  96 Wythe Acquisition LLC and SYG Realties, LLC


II.    NAMED INSURED ADDRESS:          199 Lee Avenue, PMB 693
                                       Brooklyn, NY 11211


III.   POLICY PERIOD:                  September 28, 2012 to September 28, 2015
                                       (Or until end of project, whichever comes first)
                                       Beginning and ending at 12:01 A.M. Local Standard
                                       Time at the address of the Named Insured.


IV.    POLICY NUMBER:                  PUG1200249




               NOTICE           : THESE POLICY FORMS AND THE APPLICABLE RATES
               ARE EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK STATE
               INSURANCE DEPARTMENT. HOWEVER, SUCH FORMS AND RATES MUST
               MEET THE MINIMUM STANDARDS OF THE NEW YORK INSURANCE LAW
               AND REGULATIONS.




CLASS CODE:             2-14000



PRIME SPECIALTY, INC.                    PSG CGL                                        1 OF 3
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V.     LIMIT OF LIABILITY:

       A.      LIMIT EACH OCCURRENCE:                         $1,000,000.00

       B.      PRODUCTS-COMPLETED OPERATIONS
               AGGREGATE LIMIT:              $2,000,000.00

       C.      PERSONAL INJURY AND ADVERTISING
               INJURY LIABILITY LIMIT:         $1,000,000.00

       D.      DAMAGE TO PREMISES
               RENTED TO YOU LIMIT:                           $   50,000.00

       E.      MEDICAL EXPENSE LIMIT:                         $    5,000.00

       F.      GENERAL AGGREGATE LIMIT:                       $2,000,000.00


VI.    DEDUCTIBLE:                           Not Applicable
       OR
       SELF-INSURED RETENTION:               $5,000.00


VII.   PREMIUM AND REPORTING:
       (A)  DEPOSIT PREMIUM:                 $136,000.00

       (B)     MINIMUM PREMIUM:              $136,000.00

       (C)    PREMIUM ADJUSTMENT AND REPORTING: The premium charged for this
policy has been calculated at the rate of $8.50 per $100.00 of hard costs during the Policy
Period. On or before the 30th day following the expiration of this policy, the insured agrees to
submit to Prime Specialty, Inc. a report of hard costs during the Policy Period.

       Earned Premium will be calculated at the above rate, and any premium in excess of the
Deposit Premium shall be immediately due and payable upon furnishing the aforesaid report. In
the event that the Earned Premium is less than the Deposit Premium but more than the
Minimum Premium, the Company will return the difference between the Deposit Premium and
the Earned Premium. In the event that the Earned Premium is less than the Minimum Premium,
the Minimum Premium will apply and the Company will return the difference (if any) between the
Deposit Premium and the Minimum Premium.

        (D)     AUDIT: The insured shall keep an accurate record of hard costs during the
Policy Period. Prime Specialty, Inc. through its authorized representative shall be privileged to
inspect the books and records of the insured pertaining to the subject matter of this insurance at
all reasonable times during the life of this policy and for twenty four (24) months after the
expiration or termination date of this insurance. Any evasion by the insured in connection with
statements shall void such policy and shall be an absolute defense to any suit or action brought
under such policy.




PRIME SPECIALTY, INC.                       PSG CGL                                         2 OF 3
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        (E)    CANCELLATION: In the event of cancellation, the insured agrees to furnish the
company with an accurate statement of hard costs for the period from the attachment date of
this policy up to and including the date of cancellation, such statement to be the basis for
premium adjustment as provided herein. Revised Minimum and Deposit Premiums will be
calculated as set forth below, and the Earned Premium for the amended Policy Period will be
applied against these revised Minimum and Deposit Premiums in accordance with Declaration
VII(C).

        In the event of cancellation by the Company, the revised Deposit Premium will be
calculated by subtracting the pro rata return premium due from the Deposit Premium set forth in
Declaration VII(A). The revised Minimum Premium will be determined by dividing the Minimum
Premium set forth in Declaration VII(B) by the Deposit Premium set forth in Declaration VII(A)
and multiplying the resultant fraction times the revised Deposit Premium.

        In the event of cancellation by the insured, the revised Deposit Premium will be
calculated by subtracting the “short-rate return premium” due from the Deposit Premium. In
such event, unless modified by specific endorsement, the revised Minimum Premium will be the
same as the revised Deposit Premium.

       (F)     DEFINITIONS:

       1.      “Gross Receipts” means the gross amount of money charged by the Named
               Insured for “Your Product” and “Your Work” during the Policy Period, and
               includes taxes, other than taxes which the Named Insured collects as a separate
               item and remits directly to a governmental division.

       2.      “Payroll” means the total remuneration paid to each employee for services
               rendered during the policy period excluding executive officers and employees
               engaged primarily in clerical operations and excluding extra wages paid for
               overtime.

       3.      “Short-rate return premium” shall be defined to mean the amount obtained by
               multiplying the pro rata return premium times 90%.




COUNTERSIGNED: By
               DATE             October 19, 2012          AUTHORIZED REPRESENTATIVE


PRIME SPECIALTY, INC.                      PSG CGL                                       3 OF 3
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                                                                                 COMMERCIAL GENERAL LIABILITY
                                                                                                CG 00 01 10 01


             COMMERCIAL GENERAL LIABILITY COVERAGE
                            FORM
      -


  Various provisions in this policy restrict coverage.           b. This insurance applies to "bodily injury" and
  Read the entire policy carefully to determine rights,             "property damage" only if:
  duties and what is and is not covered.                            (1) The "bodily injury" or "property damage" is
  Throughout this policy the words "you" and "your"                     caused by an "occurrence" that takes place
  refer to the Named Insured shown in the Declarations,                 in the "coverage territory";
  and any other person or organization qualifying as a              (2) The "bodily injury" or "property damage"
  Named Insured under this policy. The words "we",                      occurs during the policy period; and
  "us" and "our" refer to the company providing this
  insurance.                                                        (3) Prior to the policy period, no insured listed
                                                                        under Paragraph 1. of Section II – Who Is
  The word "insured" means any person or organization                   An Insured and no "employee" authorized
  qualifying as such under Section II – Who Is An                       by you to give or receive notice of an
  Insured.                                                              "occurrence" or claim, knew that the "bodily
  Other words and phrases that appear in quotation                      injury" or "property damage" had occurred,
  marks have special meaning. Refer to Section V –                      in whole or in part. If such a listed insured
  Definitions.                                                          or authorized "employee" knew, prior to the
  SECTION I – COVERAGES                                                 policy period, that the "bodily injury" or
                                                                        "property damage" occurred, then any
  COVERAGE A BODILY INJURY AND PROPERTY                                 continuation, change or resumption of such
  DAMAGE LIABILITY                                                      "bodily injury" or "property damage" during
   1. Insuring Agreement                                                or after the policy period will be deemed to
                                                                        have been known prior to the policy period.
     a. We will pay those sums that the insured
        becomes legally obligated to pay as damages               c. "Bodily injury" or "property damage" which
        because of "bodily injury" or "property damage"              occurs during the policy period and was not,
        to which this insurance applies. We will have                prior to the policy period, known to have
        the right and duty to defend the insured against             occurred by any insured listed under
        any "suit" seeking those damages. However,                   Paragraph 1. of Section II – Who Is An Insured
        we will have no duty to defend the insured                   or any "employee" authorized by you to give or
        against any "suit" seeking damages for "bodily               receive notice of an "occurrence" or claim,
        injury" or "property damage" to which this                   includes any continuation, change or
        insurance does not apply. We may, at our                     resumption of that "bodily injury" or "property
        discretion, investigate any "occurrence" and                 damage" after the end of the policy period.
        settle any claim or "suit" that may result. But:         d. "Bodily injury" or "property damage" will be
          (1) The amount we will pay for damages is                 deemed to have been known to have occurred
              limited as described in Section III – Limits          at the earliest time when any insured listed
              Of Insurance; and                                     under Paragraph 1. of Section II – Who Is An
                                                                    Insured or any "employee" authorized by you to
          (2) Our right and duty to defend ends when we
                                                                    give or receive notice of an "occurrence" or
              have used up the applicable limit of
                                                                    claim:
              insurance in the payment of judgments or
              settlements under Coverages A or B or                 (1) Reports all, or any part, of the "bodily injury"
              medical expenses under Coverage C.                        or "property damage" to us or any other
                                                                        insurer;
          No other obligation or liability to pay sums or
          perform acts or services is covered unless                (2) Receives a written or verbal demand or
          explicitly provided for under Supplementary                   claim for damages because of the "bodily
          Payments – Coverages A and B.                                 injury" or "property damage"; or
                                                                    (3) Becomes aware by any other means that
                                                                        "bodily injury" or "property damage" has
                                                                        occurred or has begun to occur.




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                                                                  c. Liquor Liability
     e. Damages because of "bodily injury" include                   "Bodily injury" or "property damage" for which
        damages claimed by any person or                             any insured may be held liable by reason of:
        organization for care, loss of services or death            (1) Causing or contributing to the intoxication of
        resulting at any time from the "bodily injury".                 any person;
   2. Exclusions                                                    (2) The furnishing of alcoholic beverages to a
     This insurance does not apply to:                                  person under the legal drinking age or
     a. Expected Or Intended Injury                                     under the influence of alcohol; or
        "Bodily injury" or "property damage" expected               (3) Any statute, ordinance or regulation relating
        or intended from the standpoint of the insured.                 to the sale, gift, distribution or use of
        This exclusion does not apply to "bodily injury"                alcoholic beverages.
        resulting from the use of reasonable force to                This exclusion applies only if you are in the
        protect persons or property.                                 business of manufacturing, distributing, selling,
     b. Contractual Liability                                        serving or furnishing alcoholic beverages.
        "Bodily injury" or "property damage" for which           d. Workers' Compensation And Similar Laws
        the insured is obligated to pay damages by                   Any obligation of the insured under a workers'
        reason of the assumption of liability in a                   compensation,       disability  benefits   or
        contract or agreement. This exclusion does not               unemployment compensation law or any
        apply to liability for damages:                              similar law.
        (1) That the insured would have in the absence            e. Employer's Liability
            of the contract or agreement; or                         "Bodily injury" to:
        (2) Assumed in a contract or agreement that is              (1) An "employee" of the insured arising out of
            an "insured contract", provided the "bodily                 and in the course of:
            injury" or "property damage" occurs
            subsequent to the execution of the contract                   (a) Employment by the insured; or
            or agreement. Solely for the purposes of                      (b) Performing duties related to the conduct
            liability assumed in an "insured contract",                       of the insured's business; or
            reasonable attorney fees and necessary
                                                                    (2) The spouse, child, parent, brother or sister
            litigation expenses incurred by or for a party
                                                                        of that "employee" as a consequence of
            other than an insured are deemed to be
                                                                        Paragraph (1) above.
            damages because of "bodily injury" or
            "property damage", provided:                             This exclusion applies:
           (a) Liability to such party for, or for the cost         (1) Whether the insured may be liable as an
               of, that party's defense has also been                   employer or in any other capacity; and
               assumed in the same "insured contract";              (2) To any obligation to share damages with or
               and                                                      repay someone else who must pay
           (b) Such attorney fees and litigation                        damages because of the injury.
               expenses are for defense of that party                This exclusion does not apply to liability
               against a civil or alternative dispute                assumed by the insured under an "insured
               resolution proceeding in which damages                contract".
               to which this insurance applies are
               alleged.




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      f. Pollution                                                         (d) At or from any premises, site or location
        (1) "Bodily injury" or "property damage" arising                       on which any insured or any contractors
            out of the actual, alleged or threatened                           or subcontractors working directly or
            discharge, dispersal, seepage, migration,                          indirectly on any insured's behalf are
            release or escape of "pollutants":                                 performing operations if the "pollutants"
                                                                               are brought on or to the premises, site
           (a) At or from any premises, site or location                       or location in connection with such
               which is or was at any time owned or                            operations by such insured, contractor
               occupied by, or rented or loaned to, any                        or    subcontractor.   However,      this
               insured. However, this subparagraph                             subparagraph does not apply to:
               does not apply to:
                                                                               (i) "Bodily injury" or "property damage"
                 (i) "Bodily injury" if sustained within a                         arising out of the escape of fuels,
                     building and caused by smoke,                                 lubricants or other operating fluids
                     fumes, vapor or soot from equipment                           which are needed to perform the
                     used to heat that building;                                   normal electrical, hydraulic or
                 (ii) "Bodily injury" or "property damage"                         mechanical functions necessary for
                      for which you may be held liable, if                         the operation of "mobile equipment"
                      you are a contractor and the owner                           or its parts, if such fuels, lubricants
                      or lessee of such premises, site or                          or other operating fluids escape from
                      location has been added to your                              a vehicle part designed to hold, store
                      policy as an additional insured with                         or receive them. This exception does
                      respect to your ongoing operations                           not apply if the "bodily injury" or
                      performed for that additional insured                        "property damage" arises out of the
                      at that premises, site or location and                       intentional discharge, dispersal or
                      such premises, site or location is not                       release of the fuels, lubricants or
                      and never was owned or occupied                              other operating fluids, or if such
                      by, or rented or loaned to, any                              fuels, lubricants or other operating
                      insured, other than that additional                          fluids are brought on or to the
                      insured; or                                                  premises, site or location with the
                                                                                   intent that they be discharged,
              (iii) "Bodily injury" or "property damage"
                                                                                   dispersed or released as part of the
                    arising out of heat, smoke or fumes
                    from a "hostile fire";                                         operations being performed by such
                                                                                   insured, contractor or subcontractor;
           (b) At or from any premises, site or location
               which is or was at any time used by or                         (ii) "Bodily injury" or "property damage"
                                                                                   sustained within a building and
               for any insured or others for the
               handling, storage, disposal, processing                             caused by the release of gases,
                                                                                   fumes or vapors from materials
               or treatment of waste;
                                                                                   brought into that building in
           (c) Which are or were at any time                                       connection with operations being
               transported, handled, stored, treated,                              performed by you or on your behalf
               disposed of, or processed as waste by                               by a contractor or subcontractor; or
               or for:
                                                                             (iii) "Bodily injury" or "property damage"
                 (i) Any insured; or                                               arising out of heat, smoke or fumes
                 (ii) Any person or organization for whom                          from a "hostile fire".
                      you may be legally responsible; or




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           (e) At or from any premises, site or location                  (b) Not being used to carry persons or
               on which any insured or any contractors                        property for a charge;
               or subcontractors working directly or                (3) Parking an "auto" on, or on the ways next
               indirectly on any insured's behalf are                   to, premises you own or rent, provided the
               performing operations if the operations                  "auto" is not owned by or rented or loaned
               are to test for, monitor, clean up,                      to you or the insured;
               remove, contain, treat, detoxify or                  (4) Liability assumed under any "insured
               neutralize, or in any way respond to, or                 contract" for the ownership, maintenance or
               assess the effects of, "pollutants".                     use of aircraft or watercraft; or
        (2) Any loss, cost or expense arising out of                (5) "Bodily injury" or "property damage" arising
            any:                                                        out of the operation of any of the equipment
           (a) Request, demand, order or statutory or                   listed in Paragraph f.(2) or f.(3) of the
               regulatory requirement that any insured                  definition of "mobile equipment".
               or others test for, monitor, clean up,            h. Mobile Equipment
               remove, contain, treat, detoxify or
               neutralize, or in any way respond to, or              "Bodily injury" or "property damage" arising out
               assess the effects of, "pollutants"; or               of:
           (b) Claim or "suit" by or on behalf of a                 (1) The transportation of "mobile equipment" by
               governmental authority for damages                       an "auto" owned or operated by or rented or
               because of testing for, monitoring,                      loaned to any insured; or
               cleaning up, removing, containing,                   (2) The use of "mobile equipment" in, or while
               treating, detoxifying or neutralizing, or in             in practice for, or while being prepared for,
               any way responding to, or assessing the                  any prearranged racing, speed, demolition,
               effects of, "pollutants".                                or stunting activity.
            However, this paragraph does not apply to             i. War
            liability for damages because of "property
                                                                     "Bodily injury" or "property damage" due to
            damage" that the insured would have in the
                                                                     war, whether or not declared, or any act or
            absence of such request, demand, order or
                                                                     condition incident to war. War includes civil
            statutory or regulatory requirement, or such             war, insurrection, rebellion or revolution. This
            claim or "suit" by or on behalf of a
                                                                     exclusion applies only to liability assumed
            governmental authority.
                                                                     under a contract or agreement.
     g. Aircraft, Auto Or Watercraft                              j. Damage To Property
        "Bodily injury" or "property damage" arising out             "Property damage" to:
        of the ownership, maintenance, use or
        entrustment to others of any aircraft, "auto" or            (1) Property you own, rent, or occupy, including any
        watercraft owned or operated by or rented or                    costs or expenses incurred by you, or any other
        loaned to any insured. Use includes operation                   person, organization or entity, for repair,
        and "loading or unloading".                                     replacement, enhancement, restoration or
                                                                        maintenance of such property for any reason,
        This exclusion applies even if the claims                       including prevention of injury to a person or
        against any insured allege negligence or other
                                                                        damage to another's property;
        wrongdoing in the supervision, hiring,
        employment, training or monitoring of others by             (2) Premises you sell, give away or abandon, if the
        that insured, if the "occurrence" which caused                  "property damage" arises out of any part of
        the "bodily injury" or "property damage"                        those premises;
        involved the ownership, maintenance, use or                 (3) Property loaned to you;
        entrustment to others of any aircraft, "auto" or
                                                                    (4) Personal property in the care, custody or control
        watercraft that is owned or operated by or
                                                                        of the insured;
        rented or loaned to any insured.
                                                                    (5) That particular part of real property on which you
        This exclusion does not apply to:
                                                                        or any contractors or subcontractors working
        (1) A watercraft while ashore on premises you                   directly or indirectly on your behalf are
            own or rent;                                                performing operations, if the "property damage"
        (2) A watercraft you do not own that is:                        arises out of those operations; or
           (a) Less than 26 feet long; and                          (6) That particular part of any property that must be
                                                                        restored, repaired or replaced because "your
                                                                        work" was incorrectly performed on it.




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        Paragraphs (1), (3) and (4) of this exclusion do         n. Recall Of Products, Work Or Impaired
        not apply to "property damage" (other than                  Property
        damage by fire) to premises, including the                   Damages claimed for any loss, cost or
        contents of such premises, rented to you for a               expense incurred by you or others for the loss
        period of 7 or fewer consecutive days. A                     of use, withdrawal, recall, inspection, repair,
        separate limit of insurance applies to Damage                replacement, adjustment, removal or disposal
        To Premises Rented To You as described in                    of:
        Section III – Limits Of Insurance.
                                                                    (1) "Your product";
        Paragraph (2) of this exclusion does not apply
        if the premises are "your work" and were never              (2) "Your work"; or
        occupied, rented or held for rental by you.                 (3) "Impaired property";
        Paragraphs (3), (4), (5) and (6) of this                     if such product, work, or property is withdrawn
        exclusion do not apply to liability assumed                  or recalled from the market or from use by any
        under a sidetrack agreement.                                 person or organization because of a known or
        Paragraph (6) of this exclusion does not apply               suspected defect, deficiency, inadequacy or
        to "property damage" included in the "products-              dangerous condition in it.
        completed operations hazard".                            o. Personal And Advertising Injury
     k. Damage To Your Product                                       "Bodily injury" arising out of "personal and
        "Property damage" to "your product" arising out              advertising injury".
        of it or any part of it.                                 Exclusions c. through n. do not apply to damage
      l. Damage To Your Work                                     by fire to premises while rented to you or
                                                                 temporarily occupied by you with permission of the
        "Property damage" to "your work" arising out of          owner. A separate limit of insurance applies to this
        it or any part of it and included in the "products-      coverage as described in Section III – Limits Of
        completed operations hazard".                            Insurance.
        This exclusion does not apply if the damaged          COVERAGE B PERSONAL AND ADVERTISING
        work or the work out of which the damage              INJURY LIABILITY
        arises was performed on your behalf by a
        subcontractor.                                        1. Insuring Agreement
     m. Damage To Impaired Property Or Property                   a. We will pay those sums that the insured
        Not Physically Injured                                       becomes legally obligated to pay as damages
                                                                     because of "personal and advertising injury" to
        "Property damage" to "impaired property" or                  which this insurance applies. We will have the
        property that has not been physically injured,               right and duty to defend the insured against
        arising out of:                                              any "suit" seeking those damages. However,
        (1) A defect, deficiency, inadequacy or                      we will have no duty to defend the insured
            dangerous condition in "your product" or                 against any "suit" seeking damages for
            "your work"; or                                          "personal and advertising injury" to which this
        (2) A delay or failure by you or anyone acting               insurance does not apply. We may, at our
            on your behalf to perform a contract or                  discretion, investigate any offense and settle
            agreement in accordance with its terms.                  any claim or "suit" that may result. But:
        This exclusion does not apply to the loss of use            (1) The amount we will pay for damages is
        of other property arising out of sudden and                     limited as described in Section III – Limits
        accidental physical injury to "your product" or                 Of Insurance ; and
        "your work" after it has been put to its intended           (2) Our right and duty to defend end when we
        use.                                                            have used up the applicable limit of
                                                                        insurance in the payment of judgments or
                                                                        settlements under Coverages A or B or
                                                                        medical expenses under Coverage C.




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        No other obligation or liability to pay sums or          g. Quality Or Performance Of Goods – Failure
        perform acts or services is covered unless                  To Conform To Statements
        explicitly provided for under Supplementary                  "Personal and advertising injury" arising out of
        Payments – Coverages A and B.                                the failure of goods, products or services to
     b. This insurance applies to "personal and                      conform with any statement of quality or
        advertising injury" caused by an offense arising             performance made in your "advertisement".
        out of your business but only if the offense was         h. Wrong Description Of Prices
        committed in the "coverage territory" during the
        policy period.                                               "Personal and advertising injury" arising out of
                                                                     the wrong description of the price of goods,
   2. Exclusions                                                     products or services stated in your
     This insurance does not apply to:                               "advertisement".
     a. Knowing Violation Of Rights Of Another                    i. Infringement Of Copyright, Patent,
        "Personal and advertising injury" caused by or               Trademark Or Trade Secret
        at the direction of the insured with the                     "Personal and advertising injury" arising out of
        knowledge that the act would violate the rights              the infringement of copyright, patent,
        of another and would inflict "personal and                   trademark, trade secret or other intellectual
        advertising injury".                                         property rights.
     b. Material Published With Knowledge Of                         However, this exclusion does not apply to
        Falsity                                                      infringement, in your "advertisement", of
        "Personal and advertising injury" arising out of             copyright, trade dress or slogan.
        oral or written publication of material, if done by       j. Insureds In Media And Internet Type
        or at the direction of the insured with                      Businesses
        knowledge of its falsity.                                    "Personal and advertising injury" committed by
     c. Material Published Prior To Policy Period                    an insured whose business is:
        "Personal and advertising injury" arising out of            (1) Advertising, broadcasting, publishing or
        oral or written publication of material whose                   telecasting;
        first publication took place before the beginning           (2) Designing or determining content of web-
        of the policy period.                                           sites for others; or
     d. Criminal Acts                                               (3) An Internet search, access, content or
        "Personal and advertising injury" arising out of                service provider.
        a criminal act committed by or at the direction              However, this exclusion does not apply to
        of the insured.                                              Paragraphs 14.a., b. and c. of "personal and
     e. Contractual Liability                                        advertising injury" under the Definitions
        "Personal and advertising injury" for which the              Section.
        insured has assumed liability in a contract or               For the purposes of this exclusion, the placing
        agreement. This exclusion does not apply to                  of frames, borders or links, or advertising, for
        liability for damages that the insured would                 you or others anywhere on the Internet, is not
        have in the absence of the contract or                       by itself, considered the business of
        agreement.                                                   advertising,  broadcasting,     publishing    or
      f. Breach Of Contract                                          telecasting.
        "Personal and advertising injury" arising out of          k. Electronic Chatrooms Or Bulletin Boards
        a breach of contract, except an implied                      "Personal and advertising injury" arising out of
        contract to use another's advertising idea in                an electronic chatroom or bulletin board the
        your "advertisement".                                        insured hosts, owns, or over which the insured
                                                                     exercises control.




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      l. Unauthorized Use Of Another's Name Or                     (2) Necessary medical, surgical, x-ray and
         Product                                                       dental    services, including prosthetic
        "Personal and advertising injury" arising out of               devices; and
        the unauthorized use of another's name or                  (3) Necessary        ambulance,         hospital,
        product in your e-mail address, domain name                    professional nursing and funeral services.
        or metatag, or any other similar tactics to          2. Exclusions
        mislead another's potential customers.
                                                                We will not pay expenses for "bodily injury":
     m. Pollution
                                                                 a. Any Insured
        "Personal and advertising injury" arising out of
        the actual, alleged or threatened discharge,                To any insured, except "volunteer workers".
        dispersal, seepage, migration, release or               b. Hired Person
        escape of "pollutants" at any time.
                                                                    To a person hired to do work for or on behalf of
     n. Pollution-Related                                           any insured or a tenant of any insured.
        Any loss, cost or expense arising out of any:            c. Injury On Normally Occupied Premises
        (1) Request, demand or order that any insured               To a person injured on that part of premises
            or others test for, monitor, clean up,                  you own or rent that the person normally
            remove, contain, treat, detoxify or                     occupies.
            neutralize, or in any way respond to, or
                                                                d. Workers Compensation And Similar Laws
            assess the effects of, "pollutants"; or
                                                                    To a person, whether or not an "employee" of
        (2) Claim or suit by or on behalf of a                      any insured, if benefits for the "bodily injury"
            governmental authority for damages
                                                                    are payable or must be provided under a
            because of testing for, monitoring, cleaning
                                                                    workers' compensation or disability benefits
            up,     removing,    containing,    treating,           law or a similar law.
            detoxifying or neutralizing, or in any way
            responding to, or assessing the effects of,          e. Athletics Activities
            "pollutants".                                           To a person injured while taking part in
  COVERAGE C MEDICAL PAYMENTS                                       athletics.
   1. Insuring Agreement                                         f. Products-Completed Operations Hazard
     a. We will pay medical expenses as described                   Included within the        "products-completed
        below for "bodily injury" caused by an accident:            operations hazard".
        (1) On premises you own or rent;                        g. Coverage A Exclusions
        (2) On ways next to premises you own or rent;               Excluded under Coverage A.
            or                                                  h. War
        (3) Because of your operations;                             Due to war, whether or not declared, or any act
        provided that:                                              or condition incident to war. War includes civil
                                                                    war, insurrection, rebellion or revolution.
        (1) The accident takes place in the "coverage
            territory" and during the policy period;         SUPPLEMENTARY PAYMENTS – COVERAGES A
                                                             AND B
        (2) The expenses are incurred and reported to
            us within one year of the date of the            1. We will pay, with respect to any claim we
            accident; and                                       investigate or settle, or any "suit" against an
                                                                insured we defend:
        (3) The injured person submits to examination,
            at our expense, by physicians of our choice          a. All expenses we incur.
            as often as we reasonably require.
     b. We will make these payments regardless of
        fault. These payments will not exceed the
        applicable limit of insurance. We will pay
        reasonable expenses for:
        (1) First aid administered at the time of an
            accident;




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      b. Up to $250 for cost of bail bonds required                  e. The indemnitee and the insured ask us to
         because of accidents or traffic law violations                 conduct and control the defense of that
         arising out of the use of any vehicle to which                 indemnitee against such "suit" and agree that
         the Bodily Injury Liability Coverage applies. We               we can assign the same counsel to defend the
         do not have to furnish these bonds.                            insured and the indemnitee; and
      c. The cost of bonds to release attachments, but               f. The indemnitee:
         only for bond amounts within the applicable                   (1) Agrees in writing to:
         limit of insurance. We do not have to furnish
         these bonds.                                                        (a) Cooperate with us in the investigation,
                                                                                 settlement or defense of the "suit";
      d. All reasonable expenses incurred by the
         insured at our request to assist us in the                          (b) Immediately send us copies of any
         investigation or defense of the claim or "suit",                        demands, notices, summonses or legal
         including actual loss of earnings up to $250 a                          papers received in connection with the
         day because of time off from work.                                      "suit";
      e. All costs taxed against the insured in the "suit".                  (c) Notify any other insurer whose coverage
                                                                                 is available to the indemnitee; and
       f. Prejudgment interest awarded against the
          insured on that part of the judgment we pay. If                    (d) Cooperate with us with respect to
          we make an offer to pay the applicable limit of                        coordinating other applicable insurance
          insurance, we will not pay any prejudgment                             available to the indemnitee; and
          interest based on that period of time after the              (2) Provides us with written authorization to:
          offer.
                                                                             (a) Obtain records and other information
      g. All interest on the full amount of any judgment                         related to the "suit"; and
         that accrues after entry of the judgment and
                                                                             (b) Conduct and control the defense of the
         before we have paid, offered to pay, or                                 indemnitee in such "suit".
         deposited in court the part of the judgment that
         is within the applicable limit of insurance.               So long as the above conditions are met,
                                                                    attorneys' fees incurred by us in the defense of
      These payments will not reduce the limits of                  that indemnitee, necessary litigation expenses
      insurance.                                                    incurred by us and necessary litigation expenses
   2. If we defend an insured against a "suit" and an               incurred by the indemnitee at our request will be
      indemnitee of the insured is also named as a party            paid        as       Supplementary     Payments.
      to the "suit", we will defend that indemnitee if all of       Notwithstanding the provisions of Paragraph
      the following conditions are met:                             2.b.(2) of Section I – Coverage A – Bodily Injury
      a. The "suit" against the indemnitee seeks                    And Property Damage Liability, such payments will
         damages for which the insured has assumed                  not be deemed to be damages for "bodily injury"
         the liability of the indemnitee in a contract or           and "property damage" and will not reduce the
         agreement that is an "insured contract";                   limits of insurance.
      b. This insurance applies          to   such   liability      Our obligation to defend an insured's indemnitee
         assumed by the insured;                                    and to pay for attorneys' fees and necessary
                                                                    litigation expenses as Supplementary Payments
      c. The obligation to defend, or the cost of the               ends when:
         defense of, that indemnitee, has also been
         assumed by the insured in the same "insured                 a. We have used up the applicable limit of
         contract";                                                     insurance in the payment of judgments or
                                                                        settlements; or
      d. The allegations in the "suit" and the information
         we know about the "occurrence" are such that               b. The conditions set forth above, or the terms of
         no conflict appears to exist between the                      the agreement described in Paragraph f.
         interests of the insured and the interests of the             above, are no longer met.
         indemnitee;




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  SECTION II – WHO IS AN INSURED                                          (b) To the spouse, child, parent, brother or
   1. If you are designated in the Declarations as:                           sister of that co-"employee" or
                                                                              "volunteer worker" as a consequence of
      a. An individual, you and your spouse are                               Paragraph (1)(a) above;
         insureds, but only with respect to the conduct
         of a business of which you are the sole owner.                   (c) For which there is any obligation to
                                                                              share damages with or repay someone
      b. A partnership or joint venture, you are an                           else who must pay damages because of
         insured. Your members, your partners, and                            the injury described in Paragraphs (1)(a)
         their spouses are also insureds, but only with                       or (b) above; or
         respect to the conduct of your business.
                                                                          (d) Arising out of his or her providing or
      c. A limited liability company, you are an insured.                     failing to provide professional health
         Your members are also insureds, but only with                        care services.
         respect to the conduct of your business. Your
         managers are insureds, but only with respect               (2) "Property damage" to property:
         to their duties as your managers.                                (a) Owned, occupied or used by,
      d. An organization other than a partnership, joint                  (b) Rented to, in the care, custody or
         venture or limited liability company, you are an                     control of, or over which physical control
         insured. Your "executive officers" and directors                     is being exercised for any purpose by
         are insureds, but only with respect to their                     you, any of your "employees", "volunteer
         duties as your officers or directors. Your                       workers", any partner or member (if you are
         stockholders are also insureds, but only with                    a partnership or joint venture), or any
         respect to their liability as stockholders.                      member (if you are a limited liability
      e. A trust, you are an insured. Your trustees are                   company).
         also insureds, but only with respect to their           b. Any person (other than your "employee" or
         duties as trustees.                                        "volunteer worker"), or any organization while
   2. Each of the following is also an insured:                     acting as your real estate manager.
      a. Your "volunteer workers" only while performing           c. Any person or organization having proper
         duties related to the conduct of your business,             temporary custody of your property if you die,
         or your "employees", other than either your                 but only:
         "executive officers" (if you are an organization           (1) With respect to liability arising out of the
         other than a partnership, joint venture or limited             maintenance or use of that property; and
         liability company) or your managers (if you are
         a limited liability company), but only for acts            (2) Until your legal representative has been
         within the scope of their employment by you or                 appointed.
         while performing duties related to the conduct          d. Your legal representative if you die, but only
         of your business. However, none of these                   with respect to duties as such. That
         "employees" or "volunteer workers" are                     representative will have all your rights and
         insureds for:                                              duties under this Coverage Part.
         (1) "Bodily injury" or "personal and advertising     3. With respect to "mobile equipment" registered in
             injury":                                            your name under any motor vehicle registration
            (a) To you, to your partners or members (if          law, any person is an insured while driving such
                you are a partnership or joint venture),         equipment along a public highway with your
                to your members (if you are a limited            permission. Any other person or organization
                liability company), to a co-"employee"           responsible for the conduct of such person is also
                while in the course of his or her                an insured, but only with respect to liability arising
                employment or performing duties related          out of the operation of the equipment, and only if
                to the conduct of your business, or to           no other insurance of any kind is available to that
                your other "volunteer workers" while             person or organization for this liability. However,
                performing duties related to the conduct         no person or organization is an insured with
                of your business;                                respect to:
                                                                  a. "Bodily injury" to a co-"employee" of the person
                                                                     driving the equipment; or
                                                                 b. "Property damage" to property owned by,
                                                                    rented to, in the charge of or occupied by you
                                                                    or the employer of any person who is an
                                                                    insured under this provision.



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   4. Any organization you newly acquire or form, other        5. Subject to 2. or 3. above, whichever applies, the
      than a partnership, joint venture or limited liability      Each Occurrence Limit is the most we will pay for
      company, and over which you maintain ownership              the sum of:
      or majority interest, will qualify as a Named                a. Damages under Coverage A; and
      Insured if there is no other similar insurance
      available to that organization. However:                    b. Medical expenses under Coverage C
      a. Coverage under this provision is afforded only           because of all "bodily injury" and "property
         until the 90th day after you acquire or form the         damage" arising out of any one "occurrence".
         organization or the end of the policy period,         6. Subject to 5. above, the Damage To Premises
         whichever is earlier;                                    Rented To You Limit is the most we will pay under
      b. Coverage A does not apply to "bodily injury" or          Coverage A for damages because of "property
         "property damage" that occurred before you               damage" to any one premises, while rented to you,
         acquired or formed the organization; and                 or in the case of damage by fire, while rented to
                                                                  you or temporarily occupied by you with
      c. Coverage B does not apply to "personal and               permission of the owner.
         advertising injury" arising out of an offense
         committed before you acquired or formed the           7. Subject to 5. above, the Medical Expense Limit is
         organization.                                            the most we will pay under Coverage C for all
                                                                  medical expenses because of "bodily injury"
  No person or organization is an insured with respect            sustained by any one person.
  to the conduct of any current or past partnership, joint
  venture or limited liability company that is not shown       The Limits of Insurance of this Coverage Part apply
  as a Named Insured in the Declarations.                      separately to each consecutive annual period and to
                                                               any remaining period of less than 12 months, starting
  SECTION III – LIMITS OF INSURANCE                            with the beginning of the policy period shown in the
   1. The Limits of Insurance shown in the Declarations        Declarations, unless the policy period is extended
      and the rules below fix the most we will pay             after issuance for an additional period of less than 12
      regardless of the number of:                             months. In that case, the additional period will be
      a. Insureds;                                             deemed part of the last preceding period for purposes
                                                               of determining the Limits of Insurance.
      b. Claims made or "suits" brought; or
                                                               SECTION IV – COMMERCIAL GENERAL LIABILITY
      c. Persons or organizations making claims or             CONDITIONS
         bringing "suits".
                                                               1. Bankruptcy
   2. The General Aggregate Limit is the most we will
      pay for the sum of:                                         Bankruptcy or insolvency of the insured or of the
                                                                  insured's estate will not relieve us of our
      a. Medical expenses under Coverage C;                       obligations under this Coverage Part.
      b. Damages under Coverage A, except damages              2. Duties In The Event Of Occurrence, Offense,
         because of "bodily injury" or "property damage"          Claim Or Suit
         included in the "products-completed operations
         hazard"; and                                              a. You must see to it that we are notified as soon
                                                                      as practicable of an "occurrence" or an offense
      c. Damages under Coverage B.                                    which may result in a claim. To the extent
   3. The Products-Completed Operations Aggregate                     possible, notice should include:
      Limit is the most we will pay under Coverage A for             (1) How, when and where the "occurrence" or
      damages because of "bodily injury" and "property                   offense took place;
      damage" included in the "products-completed
      operations hazard".                                            (2) The names and addresses of any injured
                                                                         persons and witnesses; and
   4. Subject to 2. above, the Personal and Advertising
      Injury Limit is the most we will pay under                     (3) The nature and location of any injury or
      Coverage B for the sum of all damages because                      damage arising out of the "occurrence" or
      of all "personal and advertising injury" sustained                 offense.
      by any one person or organization.




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     b. If a claim is made or "suit" is brought against      4. Other Insurance
        any insured, you must:                                  If other valid and collectible insurance is available
        (1) Immediately record the specifics of the             to the insured for a loss we cover under
            claim or "suit" and the date received; and          Coverages A or B of this Coverage Part, our
        (2) Notify us as soon as practicable.                   obligations are limited as follows:
         You must see to it that we receive written              a. Primary Insurance
         notice of the claim or "suit" as soon as                   This insurance is primary except when b.
         practicable.                                               below applies. If this insurance is primary, our
      c. You and any other involved insured must:                   obligations are not affected unless any of the
                                                                    other insurance is also primary. Then, we will
        (1) Immediately send us copies of any                       share with all that other insurance by the
            demands, notices, summonses or legal                    method described in c. below.
            papers received in connection with the
            claim or "suit";                                    b. Excess Insurance
        (2) Authorize us to obtain records and other                This insurance is excess over:
            information;                                           (1) Any of the other insurance, whether
        (3) Cooperate with us in the investigation or                  primary, excess, contingent or on any other
            settlement of the claim or defense against                 basis:
            the "suit"; and                                              (a) That is Fire, Extended Coverage,
        (4) Assist us, upon our request, in the                              Builder's Risk, Installation Risk or similar
            enforcement of any right against any                             coverage for "your work";
            person or organization which may be liable                   (b) That is Fire insurance for premises
            to the insured because of injury or damage                       rented to you or temporarily occupied by
            to which this insurance may also apply.                          you with permission of the owner;
     d. No insured will, except at that insured's own                    (c) That is insurance purchased by you to
        cost, voluntarily make a payment, assume any                         cover your liability as a tenant for
        obligation, or incur any expense, other than for                     "property damage" to premises rented to
        first aid, without our consent.                                      you or temporarily occupied by you with
   3. Legal Action Against Us                                                permission of the owner; or
     No person or organization has a right under this                    (d) If the loss arises out of the maintenance
     Coverage Part:                                                          or use of aircraft, "autos" or watercraft to
                                                                             the extent not subject to Exclusion g. of
      a. To join us as a party or otherwise bring us into                    Section I – Coverage A – Bodily Injury
         a "suit" asking for damages from an insured; or                     And Property Damage Liability.
     b. To sue us on this Coverage Part unless all of              (2) Any other primary insurance available to
        its terms have been fully complied with.                       you covering liability for damages arising
     A person or organization may sue us to recover on                 out of the premises or operations for which
     an agreed settlement or on a final judgment                       you have been added as an additional
     against an insured; but we will not be liable for                 insured by attachment of an endorsement.
     damages that are not payable under the terms of
     this Coverage Part or that are in excess of the
     applicable limit of insurance. An agreed settlement
     means a settlement and release of liability signed
     by us, the insured and the claimant or the
     claimant's legal representative.




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        When this insurance is excess, we will have no         6. Representations
        duty under Coverages A or B to defend the                 By accepting this policy, you agree:
        insured against any "suit" if any other insurer
        has a duty to defend the insured against that             a. The statements in the            Declarations    are
        "suit". If no other insurer defends, we will                 accurate and complete;
        undertake to do so, but we will be entitled to            b. Those     statements   are     based            upon
        the insured's rights against all those other                 representations you made to us; and
        insurers.
                                                                  c. We have issued this policy in reliance upon
        When this insurance is excess over other                     your representations.
        insurance, we will pay only our share of the
                                                               7. Separation Of Insureds
        amount of the loss, if any, that exceeds the
        sum of:                                                   Except with respect to the Limits of Insurance, and
                                                                  any rights or duties specifically assigned in this
        (1) The total amount that all such other                  Coverage Part to the first Named Insured, this
            insurance would pay for the loss in the
                                                                  insurance applies:
            absence of this insurance; and
                                                                  a. As if each Named Insured were the only
        (2) The total of all deductible and self-insured             Named Insured; and
            amounts under all that other insurance.
                                                                  b. Separately to each insured against whom claim
        We will share the remaining loss, if any, with               is made or "suit" is brought.
        any other insurance that is not described in this
        Excess Insurance provision and was not                 8. Transfer Of Rights Of Recovery Against Others
        bought specifically to apply in excess of the             To Us
        Limits of Insurance shown in the Declarations             If the insured has rights to recover all or part of
        of this Coverage Part.                                    any payment we have made under this Coverage
     c. Method Of Sharing                                         Part, those rights are transferred to us. The
                                                                  insured must do nothing after loss to impair them.
        If all of the other insurance permits contribution        At our request, the insured will bring "suit" or
        by equal shares, we will follow this method
                                                                  transfer those rights to us and help us enforce
        also. Under this approach each insurer
                                                                  them.
        contributes equal amounts until it has paid its
        applicable limit of insurance or none of the loss      9. When We Do Not Renew
        remains, whichever comes first.                           If we decide not to renew this Coverage Part, we
        If any of the other insurance does not permit             will mail or deliver to the first Named Insured
        contribution by equal shares, we will contribute          shown in the Declarations written notice of the
        by limits. Under this method, each insurer's              nonrenewal not less than 30 days before the
        share is based on the ratio of its applicable             expiration date.
        limit of insurance to the total applicable limits of      If notice is mailed, proof of mailing will be sufficient
        insurance of all insurers.                                proof of notice.
   5. Premium Audit                                            SECTION V – DEFINITIONS
     a. We will compute all premiums for this                  1. "Advertisement" means a notice that is broadcast
        Coverage Part in accordance with our rules                or published to the general public or specific
        and rates.                                                market segments about your goods, products or
     b. Premium shown in this Coverage Part as                    services for the purpose of attracting customers or
        advance premium is a deposit premium only.                supporters. For the purposes of this definition:
        At the close of each audit period we will                 a. Notices that are published include material
        compute the earned premium for that period                   placed on the Internet or on similar electronic
        and send notice to the first Named Insured.                  means of communication; and
        The due date for audit and retrospective
        premiums is the date shown as the due date                b. Regarding web-sites, only that part of a web-
        on the bill. If the sum of the advance and audit             site that is about your goods, products or
                                                                     services for the purposes of attracting
        premiums paid for the policy period is greater
                                                                     customers or supporters is considered an
        than the earned premium, we will return the
        excess to the first Named Insured.                           advertisement.
                                                               2. "Auto" means a land motor vehicle, trailer or
     c. The first Named Insured must keep records of
                                                                  semitrailer designed for travel on public roads,
        the information we need for premium
                                                                  including any attached machinery or equipment.
        computation, and send us copies at such times
        as we may request.                                        But "auto" does not include "mobile equipment".




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   3. "Bodily injury" means bodily injury, sickness or        9. "Insured contract" means:
      disease sustained by a person, including death              a. A contract for a lease of premises. However,
      resulting from any of these at any time.                       that portion of the contract for a lease of
   4. "Coverage territory" means:                                    premises that indemnifies any person or
      a. The United States of America (including its                 organization for damage by fire to premises
         territories and possessions), Puerto Rico and               while rented to you or temporarily occupied by
         Canada;                                                     you with permission of the owner is not an
                                                                     "insured contract";
      b. International waters or airspace, but only if the
         injury or damage occurs in the course of travel         b. A sidetrack agreement;
         or transportation between any places included            c. Any easement or license agreement, except in
         in a. above; or                                             connection with construction or demolition
      c. All other parts of the world if the injury or               operations on or within 50 feet of a railroad;
         damage arises out of:                                   d. An obligation, as required by ordinance, to
         (1) Goods or products made or sold by you in               indemnify a municipality, except in connection
             the territory described in a. above;                   with work for a municipality;
         (2) The activities of a person whose home is in          e. An elevator maintenance agreement;
             the territory described in a. above, but is          f. That part of any other contract or agreement
             away for a short time on your business; or              pertaining to your business (including an
         (3) "Personal and advertising injury" offenses              indemnification of a municipality in connection
             that take place through the Internet or                 with work performed for a municipality) under
             similar electronic means of communication               which you assume the tort liability of another
                                                                     party to pay for "bodily injury" or "property
      provided the insured's responsibility to pay                   damage" to a third person or organization. Tort
      damages is determined in a "suit" on the merits, in            liability means a liability that would be imposed
      the territory described in a. above or in a                    by law in the absence of any contract or
      settlement we agree to.                                        agreement.
   5. "Employee"     includes    a    "leased worker".               Paragraph f. does not include that part of any
      "Employee"    does not     include a "temporary                contract or agreement:
      worker".
                                                                    (1) That indemnifies a railroad for "bodily injury"
   6. "Executive officer" means a person holding any of                 or "property damage" arising out of
      the officer positions created by your charter,                    construction or demolition operations, within
      constitution, by-laws or any other similar governing              50 feet of any railroad property and
      document.                                                         affecting any railroad bridge or trestle,
   7. "Hostile fire" means one which becomes                            tracks, road-beds, tunnel, underpass or
      uncontrollable or breaks out from where it was                    crossing;
      intended to be.                                               (2) That indemnifies an architect, engineer or
   8. "Impaired property" means tangible property, other                surveyor for injury or damage arising out of:
      than "your product" or "your work", that cannot be                  (a) Preparing, approving, or failing to
      used or is less useful because:                                         prepare or approve, maps, shop
      a. It incorporates "your product" or "your work"                        drawings, opinions, reports, surveys,
         that is known or thought to be defective,                            field orders, change orders or drawings
         deficient, inadequate or dangerous; or                               and specifications; or
      b. You have failed to fulfill the terms of a contract               (b) Giving directions or instructions, or
         or agreement;                                                        failing to give them, if that is the primary
                                                                              cause of the injury or damage; or
      if such property can be restored to use by:
                                                                    (3) Under which the insured, if an architect,
      a. The repair, replacement, adjustment            or
                                                                        engineer or surveyor, assumes liability for
         removal of "your product" or "your work"; or
                                                                        an injury or damage arising out of the
      b. Your fulfilling the terms of the contract or                   insured's rendering or failure to render
         agreement.                                                     professional services, including those listed
                                                                        in (2) above and supervisory, inspection,
                                                                        architectural or engineering activities.




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  10. "Leased worker" means a person leased to you by           f. Vehicles not described in a., b., c. or d. above
      a labor leasing firm under an agreement between              maintained primarily for purposes other than
      you and the labor leasing firm, to perform duties            the transportation of persons or cargo.
      related to the conduct of your business. "Leased             However, self-propelled vehicles with the
      worker" does not include a "temporary worker".               following types of permanently attached
  11. "Loading or unloading" means the handling of                 equipment are not "mobile equipment" but will
      property:                                                    be considered "autos":
     a. After it is moved from the place where it is              (1) Equipment designed primarily for:
        accepted for movement into or onto an aircraft,                 (a) Snow removal;
        watercraft or "auto";
                                                                        (b) Road maintenance, but not construction
     b. While it is in or on an aircraft, watercraft or                     or resurfacing; or
        "auto"; or
                                                                        (c) Street cleaning;
     c. While it is being moved from an aircraft,
        watercraft or "auto" to the place where it is             (2) Cherry pickers and similar devices mounted
        finally delivered;                                            on automobile or truck chassis and used to
                                                                      raise or lower workers; and
     but "loading or unloading" does not include the
     movement of property by means of a mechanical                (3) Air compressors, pumps and generators,
     device, other than a hand truck, that is not                     including spraying, welding, building
     attached to the aircraft, watercraft or "auto".                  cleaning, geophysical exploration, lighting
                                                                      and well servicing equipment.
  12. "Mobile equipment" means any of the following
      types of land vehicles, including any attached        13. "Occurrence" means an accident, including
      machinery or equipment:                                   continuous or repeated exposure to substantially
                                                                the same general harmful conditions.
     a. Bulldozers, farm machinery, forklifts and other
        vehicles designed for use principally off public    14. "Personal and advertising injury" means injury,
        roads;                                                  including consequential "bodily injury", arising out
                                                                of one or more of the following offenses:
     b. Vehicles maintained for use solely on or next to
        premises you own or rent;                               a. False arrest, detention or imprisonment;
     c. Vehicles that travel on crawler treads;                b. Malicious prosecution;
     d. Vehicles, whether self-propelled or not,                c. The wrongful eviction from, wrongful entry into,
        maintained primarily to provide mobility to                or invasion of the right of private occupancy of
        permanently mounted:                                       a room, dwelling or premises that a person
                                                                   occupies, committed by or on behalf of its
        (1) Power cranes, shovels, loaders, diggers or             owner, landlord or lessor;
            drills; or
                                                               d. Oral or written publication, in any manner, of
        (2) Road construction or resurfacing equipment            material that slanders or libels a person or
            such as graders, scrapers or rollers;                 organization or disparages a person's or
     e. Vehicles not described in a., b., c. or d. above          organization's goods, products or services;
        that are not self-propelled and are maintained          e. Oral or written publication, in any manner, of
        primarily to provide mobility to permanently               material that violates a person's right of
        attached equipment of the following types:                 privacy;
        (1) Air compressors, pumps and generators,              f. The use of another's advertising idea in your
            including spraying, welding, building                  "advertisement"; or
            cleaning, geophysical exploration, lighting
            and well servicing equipment; or                   g. Infringing upon another's copyright, trade dress
                                                                  or slogan in your "advertisement".
        (2) Cherry pickers and similar devices used to
            raise or lower workers;




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  15. "Pollutants" mean any solid, liquid, gaseous or             b. Loss of use of tangible property that is not
      thermal irritant or contaminant, including smoke,              physically injured. All such loss of use shall be
      vapor, soot, fumes, acids, alkalis, chemicals and              deemed to occur at the time of the
      waste. Waste includes materials to be recycled,                "occurrence" that caused it.
      reconditioned or reclaimed.                                 For the purposes of this insurance, electronic data
  16. "Products-completed operations hazard":                     is not tangible property.
     a. Includes all "bodily injury" and "property                As used in this definition, electronic data means
        damage" occurring away from premises you                  information, facts or programs stored as or on,
        own or rent and arising out of "your product" or          created or used on, or transmitted to or from
        "your work" except:                                       computer software, including systems and
        (1) Products that are still in your physical              applications software, hard or floppy disks, CD-
            possession; or                                        ROMS, tapes, drives, cells, data processing
                                                                  devices or any other media which are used with
        (2) Work that has not yet been completed or               electronically controlled equipment.
            abandoned. However, "your work" will be
            deemed completed at the earliest of the            18. "Suit" means a civil proceeding in which damages
            following times:                                       because of "bodily injury", "property damage" or
                                                                   "personal and advertising injury" to which this
           (a) When all of the work called for in your             insurance applies are alleged. "Suit" includes:
               contract has been completed.
                                                                   a. An arbitration proceeding in which such
           (b) When all of the work to be done at the                 damages are claimed and to which the insured
               job site has been completed if your                    must submit or does submit with our consent;
               contract calls for work at more than one               or
               job site.
                                                                  b. Any other alternative dispute resolution
           (c) When that part of the work done at a job              proceeding in which such damages are
               site has been put to its intended use by              claimed and to which the insured submits with
               any person or organization other than                 our consent.
               another contractor or subcontractor
               working on the same project.                    19. "Temporary worker" means a person who is
                                                                   furnished to you to substitute for a permanent
            Work that may need service, maintenance,               "employee" on leave or to meet seasonal or short-
            correction, repair or replacement, but which           term workload conditions.
            is otherwise complete, will be treated as
            completed.                                         20. "Volunteer worker" means a person who is not
                                                                   your "employee", and who donates his or her work
     b. Does not include "bodily injury" or "property              and acts at the direction of and within the scope of
        damage" arising out of:                                    duties determined by you, and is not paid a fee,
        (1) The transportation of property, unless the             salary or other compensation by you or anyone
            injury or damage arises out of a condition in          else for their work performed for you.
            or on a vehicle not owned or operated by           21. "Your product":
            you, and that condition was created by the
            "loading or unloading" of that vehicle by any          a. Means:
            insured;                                                 (1) Any goods or products, other than real
        (2) The existence of tools, uninstalled                          property, manufactured, sold, handled,
            equipment or abandoned or unused                             distributed or disposed of by:
            materials; or                                                  (a) You;
        (3) Products or operations for which the                           (b) Others trading under your name; or
            classification, listed in the Declarations or in               (c) A person or organization whose
            a policy schedule, states that products-                           business or assets you have acquired;
            completed operations are subject to the                            and
            General Aggregate Limit.
                                                                     (2) Containers (other than vehicles), materials,
  17. "Property damage" means:                                           parts or equipment furnished in connection
     a. Physical injury to tangible property, including                  with such goods or products.
        all resulting loss of use of that property. All
        such loss of use shall be deemed to occur at
        the time of the physical injury that caused it; or




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         b. Includes                                         22. "Your work":
           (1) Warranties or representations made at             a. Means:
               any time with respect to the fitness,               (1) Work or operations performed by you
               quality, durability, performance or use                 or on your behalf; and
               of "your product"; and
                                                                   (2) Materials,   parts  or  equipment
           (2) The providing of or failure to provide                  furnished in connection with such
               warnings or instructions.                               work or operations.
         c. Does not include vending machines or                 b. Includes
            other property rented to or located for the
            use of others but not sold.                            (1) Warranties or representations made at
                                                                       any time with respect to the fitness,
                                                                       quality, durability, performance or use
                                                                       of "your work", and
                                                                   (2) The providing of or failure to provide
                                                                       warnings or instructions.




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                              COMMON POLICY CONDITIONS



All Coverage Parts included in this policy are subject to the following conditions:


A.   CANCELLATION

     1.    The first Named Insured shown in the Declarations may cancel this policy by mailing
           or delivering to us advance written notice of cancellation.

     2.    We may cancel this policy by mailing or delivering to the first Named Insured written
           notice of cancellation at least:

           a.    10 days before the effective date of cancellation if we cancel for nonpayment of
                 premium; or

           b.    30 days before the effective date of cancellation if we cancel for any other
                 reason.

     3.    We will mail or deliver our notice to the first Named Insured’s last mailing address
           known to us.

     4.    Notice of cancellation will state the effective date of cancellation. The policy period
           will end on that date.

     5.    If this policy is canceled, we will send the first Named Insured any premium refund
           due. If we cancel, the refund will be pro rata. If the first Named Insured cancels, the
           refund will be short-rate. The cancellation will be effective even if we have not made
           or offered a refund.

     6.    If notice is mailed, proof of mailing will be sufficient proof of notice.

B.   CHANGES

     This policy contains all the agreements between you and us concerning the insurance
     afforded. The first Named Insured shown in the Declarations is authorized to make
     changes in the terms of this policy with our consent. This policy’s terms can be amended
     or waived only by endorsement issued by us and made a part of this policy.

C.   EXAMINATION OF YOUR BOOKS AND RECORDS

     We may examine and audit your books and records as they relate to this policy at any
     time during the policy period and up to three years afterward.




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D.   INSPECTIONS AND SURVEYS

     We have the right but are not obligated to:

     1.    Make inspections and surveys at any time;

     2.    Give you reports on the conditions we find; and

     3.    Recommend changes.

     Any inspections, surveys, reports or recommendations relate only to insurability and the
     premiums to be charged. We do not make safety inspections. We do not undertake to
     perform the duty of any person or organization to provide for the health or safety of
     workers or the public. And we do not warrant that conditions:

     1.    Are safe or healthful; or

     2.    Comply with laws, regulations, codes or standards.

     This condition applies not only to us, but also to any rating, advisory, rate service or similar
     organization which makes insurance inspections, surveys, reports or recommendations.

E.   PREMIUMS

     The first Named Insured shown in the Declarations:

     1.    Is responsible for the payment of all premiums; and

     2.    Will be the payee for any return premiums we pay.

F.   TRANSFER OF YOUR RIGHTS AND DUTIES UNDER THIS POLICY

     Your rights and duties under this policy may not be transferred without our written consent
     except in the case of death of an individual named insured.

     If you die, your rights and duties will be transferred to your legal representative but only
     while acting within the scope of duties as your legal representative. Until your legal
     representative is appointed, anyone having proper temporary custody of your property will
     have your rights and duties but only with respect to that property.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
             NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT
                               (Broad Form)


1.     The insurance does not apply:

       A.   Under any Liability Coverage, to “bodily injury” or “property damage”:

            (1)   With respect to which an “insured” under the policy is also an insured under a
                  nuclear energy liability policy issued by Nuclear Energy Liability Insurance
                  Association, Mutual Atomic Energy Liability Underwriters, Nuclear Insurance
                  Association of Canada or any of their successors, or would be an insured
                  under any such policy but for its termination upon exhaustion of its limit of
                  liability; or

            (2)   Resulting from the “hazardous properties” of “nuclear material” and with
                  respect to which (a) any person or organization is required to maintain financial
                  protection pursuant to the Atomic Energy Act of 1954, or any law amendatory
                  thereof, or (b) the “insured” is, or had this policy not been issued would be,
                  entitled to indemnity from the United States of America, or any agency thereof,
                  under any agreement entered into by the United States of America, or any
                  agency thereof, with any person or organization.

       B.   Under any Medical Payments coverage, to expenses incurred with respect to “bodily
            injury” resulting from the “hazardous properties” of “nuclear material” and arising out
            of the operation of a “nuclear facility” by any person or organization.

       C.   Under any Liability Coverage, to “bodily injury” or “property damage” resulting from
            the “hazardous properties” of “nuclear material”, if:

            (1)   The “nuclear material” (a) is at any “nuclear facility” owned by, or operated by
                  or on behalf of, an “insured” or (b) has been discharged or dispersed therefrom;

            (2)   The “nuclear material” is contained in “spent fuel” or “waste” at any time
                  possessed, handled, used, processed, stored, transported or disposed of by or
                  on behalf of the “insured”; or

            (3)   The “bodily injury” or “property damage” arises out of the furnishing by an
                  “insured” of services, materials, parts or equipment in connection with the
                  planning, construction, maintenance, operation or use of any “nuclear facility”,
                  but if such facility is located within the United States of America, its territories or
                  possessions or Canada, this exclusion (3) applies only to “property damage” to
                  such “nuclear facility” and any property thereat.




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2.   As used in this endorsement: “Hazardous properties” include radioactive, toxic or
     explosive properties; “Nuclear material” means “source material”, “Special nuclear
     material” or “by-product material”; “Source material”, “special nuclear material”, and “by-
     product material” have the meanings given them in the Atomic Energy Act of 1954 or in
     any law amendatory thereof; “Spent fuel” means any fuel element or fuel component, solid
     or liquid, which has been used or exposed to radiation in a “nuclear reactor”;

     “Waste” means any waste material (a) containing “by-product material” other than the
     tailings or wastes produced by the extraction or concentration of uranium or thorium from
     any ore processed primarily for its “source material” content, and (b) resulting from the
     operation by any person or organization of any “nuclear facility” included under the first
     two paragraphs of the definition of “nuclear facility”.

     “Nuclear facility” means:

     (a)   Any “nuclear reactor”;

     (b)   Any equipment or device designed or used for (1) separating the isotopes of uranium
           or plutonium, (2) processing or utilizing “spent fuel”, or (3) handling, processing or
           packaging “waste”;

     (c)   Any equipment or device used for the processing, fabricating or alloying of “special
           nuclear material” if at any time the total amount of such material in the custody of the
           “insured” at the premises where such equipment or device is located consists of or
           contains more than 25 grams of plutonium or uranium 233 or any combination
           thereof, or more than 250 grams of uranium 235;

     (d)   Any structure, basin, excavation, premises or place prepared or used for the storage
           or disposal of “waste”;

     and includes the site on which any of the foregoing is located, all operations conducted on
     such site and all premises used for such operations.

     “Nuclear reactor” means any apparatus designed or used to sustain nuclear fission in a
     self-supporting chain reaction or to contain a critical mass of fissionable material.
     “Property damage” includes all forms of radioactive contamination of property.




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                                 SERVICE OF SUIT CLAUSE



It is agreed that in the event of the failure of the Company to pay any amount claimed to be due
hereunder, the Company, at the request of the Insured, will submit to the jurisdiction of any
court of competent jurisdiction within the United States of America or Canada where the
Company is incorporated or maintains a principal place of business, where the Named Insured
is incorporated or maintains a principal place of business or where the cause of action arises.

It is further agreed that service of process in such suit may be made upon the Claim Managers
of National Claims Services, Inc.,1301 Hightower Trail, Suite 210, Atlanta, GA 30350, (800)
424-0132, and that in any suit instituted against the Company upon this policy, the Company will
abide by the final decision of such Court or by the final decision of the Appellate Court in the
event of any appeal.

The Claims Manager of National Claim Services, Inc. is authorized and directed to accept
service of process on behalf of the company in any such suit and/or upon the request of the
Insured to give a written undertaking to the Insured that it or they will enter a general
appearance upon the Company’s behalf in the even such a suit shall be instituted.

Further, pursuant to any statute of any state, territory or district of the United States of America
or province of Canada, which makes provision therefore, the Company hereby designates the
Superintendent, Commissioner or Director of Insurance or other officer specified for the purpose
in the stature, or his successor or successors in office, as their true and lawful attorney upon
who may be served any lawful process in any action, suit or proceeding instituted by or on
behalf of the Insured or any beneficiary hereunder arising out of this contract of Insurance, and
hereby designate the above-named as the person to whom said officer is authorized to mail
such process or a true copy thereof.




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                                    ENDORSEMENT #1


                              ABSOLUTE MINIMUM PREMIUM
                                    (25% MINIMUM)



Notwithstanding anything herein to the contrary, in the event that this policy is cancelled by the
Named Insured, it is hereby agreed that this policy is subject to an absolute minimum premium
of $34,000.00. Such absolute minimum premium shall not be subject to pro rata or short rate
adjustment.

In the event of cancellation by the Named Insured, the premium due under this policy will be the
greater of the following:

     (1)    The Minimum and Deposit premium shown in the Declarations multiplied times the
            applicable short-rate earned premium factor.

     (2)    The earned premium based upon the policy rate multiplied times the hard costs,
            payroll or other premium adjustment basis for the policy period.

     (3)    The absolute minimum premium shown above.



For purposes of this endorsement, cancellation of this policy for nonpayment of premium by the
Named Insured's premium finance company shall be deemed to be cancellation by the Named
Insured.




           ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



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                                    ENDORSEMENT #2


                                   ASBESTOS EXCLUSION



In consideration of the premium charged and notwithstanding anything to the contrary contained
in this policy, it is hereby agreed that the coverage afforded by this policy does not apply to
"bodily injury", "personal injury" or "property damage" arising out of:

1)   inhaling, ingesting or prolonged physical exposure to asbestos or goods or products
     containing asbestos; or

2)   the use of asbestos in constructing or manufacturing any good, product or structure; or

3)   the removal of asbestos from any good, product or structure; or

4)   the manufacture, transportation, storage or disposal of asbestos or goods or products
     containing asbestos.

The coverage afforded by the policy does not apply to payment for the investigation or defense
of any loss, injury or damage or any cost, fine or penalty or for any expense or claim or suit
related to any of the above.




          ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



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                                  ENDORSEMENT #3


     CHEMICAL, BIOLOGICAL, BIO – CHEMICAL, AND ELECTROMAGNETIC
                    WEAPONS EXCLUSION CLAUSE



A.   CHEMICAL, BIOLOGICAL, BIO – CHEMICAL, ELECTROMAGNETIC WEAPONS
     EXCLUSION CLAUSE

     This clause shall be paramount and shall override anything contained in this
     insurance inconsistent therewith.

1.   In no case shall this insurance cover loss, damage, liability or expense, directly or
     indirectly caused by, or contributed to by, or arising from

     1.1    any chemical, biological, bio-chemical or electromagnetic weapon




           ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



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                                      ENDORSEMENT #4


                              CONTINUOUS DAMAGE EXCLUSION



In consideration of the premium charged, it is hereby agreed that this policy shall not apply
to any claim for “property damage” arising out of “your work” within the “products -completed
operations hazard” if:

1.   The “property damage” arises out of or is alleged to have arisen out of “your work” at a
     “single location” under a “single contract”, and

2.   Such claim is at any time presented to a commercial general liability policy under
     which you are an insured that has an attachment date prior to the attachment date of
     this policy.

For purposes of this policy:

a)   A “single location” shall be defined to be the larger of the following:

     (i)      A single freestanding building;
     (ii)     A series of separate buildings on a single contiguous parcel of land that are under
              common ownership or control; or
     (iii)    A series of separate buildings or dwellings which are part of the same housing
              development.

b)   A “single contract” shall be all work performed at a “single location” unless “your work’
     is part of an annual maintenance agreement in which case each year shall be treated
     as a separate “single contract”.




             ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



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                                    ENDORSEMENT #5


                         EMPLOYMENT RELATIONS EXCLUSIONS



In consideration of the premium charged, it is hereby agreed that this policy shall not apply to
“bodily injury”, “property damage” or “personal injury” to:

(1)   An employee or former employee of any insured, whether or not arising out of or in the
      course of employment by the insured, or an applicant for employment with any insured, if
      the “bodily injury”, “property damage” or “personal injury” arises out of any of the following:

      a.    Refusal to Employ or Rehire;
      b.    Termination of Employment, Lay-Off or Retirement;
      c.    Coercion;
      d.    Demotion or Non-Promotion;
      e.    Performance Evaluation;
      f.    Reassignment or Transfer;
      g.    Discipline;
      h.    Defamation;
      i.    Harassment;
      j.    Humiliation
      k.    Discrimination including but not limited to discrimination based upon race, color,
            creed, religion, political belief, age, physical type, physical limitation or handicap,
            medical condition, sex or sexual orientation;
      l.    Sexual abuse including rape, sodomy, sexual acts of a non-consenting nature,
            sexual harassment or humiliation, and assault and battery in connection with the
            foregoing;
      m.    Other employment related practices, policies, acts or omissions; or

(2)   The spouse, domestic partner, child, parent, brother, sister, or other relative of that
      employee, former employee or any applicant for employment as consequence of (1)
      above.




           ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



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                                     ENDORSEMENT #6


                                       LEAD EXCLUSION



In consideration of the premium charged and notwithstanding anything to the contrary contained
in this policy, it is hereby agreed that the coverage afforded by this policy does not apply to
“bodily injury”, “personal injury” or “property damage” arising out of:

1)   inhaling, ingesting or prolonged physical exposure to lead or goods or products containing
     lead; or

2)   the use of lead in construction or manufacturing any good, product or structure; or

3)   the removal of lead from any good, product or structure; or

4)   the manufacture, transportation, storage or disposal of lead or goods or products
     containing lead.

The coverage afforded by the policy does not apply to payment for the investigation or defense
of any loss, injury or damage or any cost, fine or penalty or for any expense or claim or suit
related to any of the above.




          ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



PRIME SPECIALTY, INC.                                 1                                PSG-025
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                                   ENDORSEMENT #7


                             LEASED WORKER EXCLUSION



Notwithstanding anything contained elsewhere herein to the contrary, it is hereby agreed that
this policy specifically excludes any sum(s) for which the insured is or may become liable to pay
including costs of defense, with respect to legal and/or contractual liability for Bodily Injury
and/or Personal Injury to any LEASED WORKER.

The term “LEASED WORKER” as used in this endorsement is defined as any person who is
working on behalf of the insured on either a temporary or permanent basis under an
EMPLOYEE LEASING AGREEMENT.

EMPLOYEE LEASING AGREEMENT means an arrangement under contract or other
agreement whereby an EMPLOYEE PROVIDER FIRM provides one or more LEASED
WORKERS to a client company for any period of time regardless of duration.

EMPLOYEE PROVIDER FIRM means an entity whose principal business is providing personnel
to client companies but retains the obligation to provide coverage for Workers Compensation
and/or other statutory compensation acts.




         ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



PRIME SPECIALTY, INC.                              1                                   PSG-026
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                                    ENDORSEMENT #8


   MOLD, FUNGUS, BACTERIA, VIRUS AND ORGANIC PATHOGEN EXCLUSION



In consideration of the premium charged, it is hereby agreed that this policy shall not apply:

     1.    to “bodily injury”, “property damage”, or “personal and advertising injury”;
     2.    to damages for devaluation of property or for the taking, use or acquisition or
           interference with the rights of others in property or air space;
     3.    to any loss, cost or expense, including but not limited to fines and penalties, arising
           out of any governmental direction or request, or any private party or citizen action,
           that an insured test for, monitor, clean up, remove, contain, treat, detoxify or
           neutralize “organic pathogens”, or
     4.    to any litigation or administrative procedure in which an insured may be involved as
           a party;

arising directly, indirectly, or in concurrence or in any sequence out of actual, alleged or
threatened existence, discharge, dispersal, release or escape of “organic pathogens”, whether
or not such actual, alleged or threatened existence, discharge, dispersal, release or escape is
sudden, accidental or gradual in nature.

In addition, this insurance does not apply to any “bodily injury”, “property damage”, “personal
and advertising injury”, loss, cost or expense arising out of or related to any form of “organic
pathogens”, whether or not such actual, alleged or threatened existence, discharge, dispersal,
release or escape is intentionally caused, or whether or not such injury, damage, devaluation,
cost or expense is expected or intended from the standpoint of the insured.

“Organic pathogen” means any organic irritant or contaminant, including but not limited to
mold, fungus, bacteria or virus, including but not limited to their byproduct such as
mycotoxin, mildew, or biogenic aerosol.

“Waste” means any property intended to be disposed, recycled, reused or reclaimed by the
owner or user thereof.



          ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



PRIME SPECIALTY, INC.                               1                                     PSG-029
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                                   ENDORSEMENT #9


                               ABSOLUTE PCB EXCLUSION



It is hereby agreed that this policy shall not apply to any claim with respect to any actual,
alleged, threatened or potential discharge, dispersal, release or escape of PCB or any material
or substance containing or alleged to contain PCB into or upon any person, any structure, the
land, the air or any watercourse or body of water, regardless of whether or not such discharge,
dispersal, release or escape is cumulative, gradual, sudden or accidental.

The term PCB as used in this endorsement means polychlorinated biphenyl or any derivative
thereof.




           ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



PRIME SPECIALTY, INC.                              1                                 PSG-033
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                                     ENDORSEMENT #10


      EXCLUSION OF PREVIOUSLY REPORTED CLAIMS OR OCCURRENCES



In consideration of the premium charged, it is hereby agreed that this policy shall not apply to:

(1)   any claim or occurrence shown in the policy application on file with this company, or to

(2)   any claim or occurrence of which the insured had received written notice prior to the
      inception date of this policy, or to

(3)   any claim which is first made against any prior claims-made policy, or to

(4)   any claim which is covered under a prior claims-made policy by reason of a Notice of
      Circumstance, Extended Reporting or similar clause or which would have been covered by
      such prior claims-made policy but for the exhaustion of aggregate limits. A Notice of
      Circumstance, Extended Reporting or similar clause shall be defined to include those
      clauses wherein an occurrence is reported to a prior insurance carrier during the policy
      term or extended reporting period of such prior claims-made policy and a claim is
      subsequently made within the time limit stipulated by the Notice of Circumstance,
      Extended Reporting or similar clause.




          ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



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                                   ENDORSEMENT #11


                          ABSOLUTE POLLUTION EXCLUSION



A.   In consideration of the premium charged, it is hereby agreed that this policy shall not apply
     to any liability for "bodily injury", "property damage" or "personal injury" arising directly or
     indirectly out of the actual, alleged or threatened "release" of "pollutants".

     The intent and effect of this exclusion is to delete from such coverage as is afforded by
     this policy any "occurrence", claim, “suit”, damages or expense in any way arising out of
     the actual or threatened "release" of “pollutants”, regardless of when such "release" occurs
     or is likely to occur, and whether or not (i) such "release" arises out of the activities of the
     insured or the activities of others; (ii) such "release" is sudden or gradual; or (iii) such
     "release" is expected, intended, foreseeable, accidental, fortuitous, inevitable or the result
     of natural chemical processes.

B.   Definitions:

     (1)   "Pollutants" means any solid, liquid, gaseous or thermal irritant or contaminant,
           including smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste
           includes materials to be recycled, reconditioned or reclaimed.

           The term “pollutants” shall include chemical compounds or elements that are
           knowingly or inadvertently contained within “your product” or “your work” that pose a
           threat to persons or property in the event of their release or escape, regardless of
           whether or not such release or escape is due to a sudden event or a gradual
           process.

           The term “pollutants” shall also include any elements, chemical compounds or waste
           products which have escaped from, have been released from, or pose a threat of
           escape from, tanks, drums, pipelines, hoses, or any other conveyance or container
           and as a consequence pose a threat to persons or property.

     (2)   "Release" means discharge, dispersal, seepage, release or escape of "pollutants"
           into the land, air (within a building or into the atmosphere) or any watercourse, water
           supply, reservoir or body of water.

C.   Without intent to limit the scope of the above Absolute Pollution Exclusion, but rather for
     the purpose of illustration, it is hereby agreed that this policy shall not apply to:

     (1)   "Bodily injury", "property damage" or "personal injury" arising out of the actual,
           alleged or threatened discharge, dispersal, release or escape of "pollutants":

           (a)   At or from premises, site or location which is or was at any time owned or
                 occupied by, or rented or loaned to, any insured; or

           (b)   At or from any premises, site or location which is or was at any time used by or
                 for any insured or others for the handling, storage, disposal, processing or
                 treatment of waste; or



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           (c)   Which are or were at any time transported, handled, stored, treated, disposed
                 of, or processed as waste by any insured or by any person or organization for
                 whom you may be legally responsible; or

           (d)   At or from any site or location on which any insured or any contractors or
                 subcontractors working directly or indirectly on any insured’s behalf are
                 performing operations if the "pollutants" are brought on or to the premises, site
                 or location in connection with the operations by such insured, contractor or
                 subcontractor; or

           (e)   Arising directly or indirectly out of “your product” or “your work”.

     (2)    Any loss, cost or expense arising out of any request, demand, order or statutory or
            regulatory requirement than any insured or others test for, monitor, clean up,
            remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the
            effects of, “pollutants”.

     (3)    Any loss, cost, or expense arising out of any claim or suit by or on behalf of a
            governmental authority for damages because of testing for, monitoring, cleaning up,
            removing, containing, treating, detoxifying or neutralizing, or in any way responding
            to, or assessing the effects of, “pollutants”.




           ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



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                                   ENDORSEMENT #12


                         PROFESSIONAL LIABILITY EXCLUSION



It is hereby agreed that this policy shall not apply to “bodily injury”, “property damage” or
“personal and advertising injury” arising out of any of the following professional services:

1)   Architect and Engineering Services, including the preparing, approving or failure to
     approve, maps, shop drawings, opinions, reports, surveys, field orders or drawings and
     specifications.

2)   Medical, Dental, Nursing or Long Term Care Services, including the prescribing of or the
     failure to prescribe drugs and/or a course of treatment.

3)   Legal, Accounting, Tax Preparation, Financial or Investment Services.

4)   Insurance Agent or Brokering Services, including the procurement of or the failure to
     procure insurance in respect of personal lines, commercial lines, accidental and health, life
     insurance or annuities.

5)   Real Estate Agent, Title Agent, Mortgage Broker or Home Financing Services.

6)   Software, Computer Hardware or Web Site design or installation.

It is further agreed that this policy shall not apply to “bodily injury”, “property damage” or
“personal and advertising injury” arising out of any supervisory, inspection, review or
consultancy services performed in connections with any of the above professional services.




          ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



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                                    ENDORSEMENT #13


                           RESPIRATORY AILMENT EXCLUSION



It is hereby understood and agreed that this policy shall not apply to any liability for bodily injury,
sickness, disease, disability or shock including death at anytime resulting therefrom caused by
any of the following:

      (1)    Black Lung Disease,
      (2)    Mesothelioma,
      (3)    Emphysema,
      (4)    Pneumoconiosis,
      (5)    Pulmonary Fibrosis,
      (6)    Pleurisy,
      (7)    Asbestosis,
      (8)    Silicosis,
      (9)    Talcosis,
      (10) Mycotoxin Poisoning, Mycotoxicosis
      (11) Tricothecene Toxicosis
      (12) Stachybotryotoxicosis
      (13) Severe Acute Respiratory Syndrome (SARS)

     or any lung cancer, disease or ailment caused by or aggravated by inhalation of dust
     and/or particulate matter.

The coverage afforded by this policy shall not apply to payment for the investigation or defense
of any claim or suit related to any of the above or to any fine or penalty.




            ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



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                                   ENDORSEMENT #14


                      SELF-INSURED RETENTION ENDORSEMENT
                            (DEFENSE COSTS INCLUSIVE)



IT IS AGREED THAT THIS INSURANCE IS SUBJECT TO THE FOLLOWING ADDITIONAL
PROVISIONS. IN THE EVENT OF CONFLICT WITH ANY PROVISIONS ELSEWHERE IN
THE POLICY, THE PROVISIONS OF THIS ENDORSEMENT SHALL BE DEEMED TO APPLY.

(A)   The total liability of the Company for all damages shall not exceed the limits of liability as
      stated in the Policy Declarations, and shall apply in excess of the insured’s self-insured
      retention, hereinafter called the Retained Limit.

RETAINED LIMIT

                  Each Occurrence: $5,000.00
             Aggregate, If Applicable: Not Applicable

(B)   No claim shall be payable under this policy unless the aggregate liability for any one
      occurrence, including all legal fees, loss adjustment expenses and premises medical
      payments, exceeds the above Retained Limit, and this sum shall be deducted from the
      amount payable hereunder. For purposes of this endorsement the Each Occurrence
      Retained Limit shall apply to any and all coverages which are not otherwise excluded by
      this policy, including claims for “bodily injury”, “property damage”, “personal injury”,
      “advertising injury”, “professional liability” and “fire legal liability”.

(C)   The section entitled “Supplementary Payments” shall not apply until the Each Occurrence
      Retained Limit is exceeded in accordance with Clause (B). The Company, at its own
      expense, shall have the right and opportunity to associate with the insured in the defense,
      appeal or control of any claim or suit arising out of an occurrence to which this insurance
      applies seeking damages in excess of the Retained Limit. In such event, the insured and
      Company shall cooperate fully.

(D)   Should any occurrence appear likely to exceed the Retained Limit, no loss expenses or
      legal expenses shall be incurred on behalf of the Company without its prior consent.

(E)   In the event that the Aggregate Retained Limit is exhausted by the sum total of payments
      within the Each Occurrence Retained Limit, then the provisions of this Retention
      Endorsement shall no longer apply, and all terms and conditions of this policy are
      reinstated to their full force and effect. The Company shall then be obligated to assume
      charge of the settlement or defense of any claim or suit to which this insurance applies
      which has not yet been settled.

(F)   The Policy Condition with respect to the Insured’s Duties in the Event of Occurrence,
      Claim or Suit is replaced by the following:
      (1)   The insured shall report as soon as practicable to the Company each occurrence,
            claim or suit for which the insured’s estimated amount of loss, including legal fees
            and expenses, equals 50% or more of the above Each Occurrence Retained Limit or
            $50,000., whichever amount is the lesser.


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     (2)   Notwithstanding the above, the insured shall immediately report any incident which
           involves any of the following injuries:

           (a) fatality
           (b) spinal cord injuries, paralysis, quadriplegia or paraplegia
           (c) disc or fusion surgery
           (d) closed head injuries or head injuries resulting in impaired, mental or motor
               ability, seizures
           (e) loss of hand, crushing injury to hand, multiple finger loss, loss of arm, foot or
               leg
           (f) internal injuries resulting in impaired organ function
           (g) severely impaired vision or blindness
           (h) second or third degree burns over 20 percent or more of the body
           (I) multiple fractures involving more than one limb
           (j) rape or sexual assault
           (k) medical specials exceed $25,000
           (l) loss of taste, smell or hearing
           (m) any other serious bodily injury which the insured feels is likely to involve this
               policy.

     (3)   The insured’s report of loss should include written notice containing particulars
           sufficient to identify the insured and also reasonably obtainable information with
           respect to the time, place and circumstances of loss, the names and addresses of
           the injured parties or property owner, and the identity of any known witnesses.

     (4)   In the event of suit, the insured shall immediately forward to the Company every
           demand, notice, summons or other process received by him or his representative.

     (5)   The insured shall cooperate with the Company and, upon the Company’s request,
           assist in making settlements, in the conduct of suits, and in enforcing any right of
           contribution or indemnity against any person or organization who may be liable to
           the insured. The insured shall attend hearings and trials and assist in securing and
           giving evidence and obtaining witnesses.

     (6)   WARRANTY: IT IS A CONDITION OF COVERAGE AND THE NAMED INSURED
           AGREES THAT AS A SELF-INSURER IT SHALL HAVE THE SAME LEGAL
           DUTIES AND OBLIGATIONS WITH REGARD TO THE COMPANY THAT A
           PRIMARY INSURER OWES TO AN EXCESS INSURER. THESE DUTIES AND
           OBLIGATIONS SHALL INCLUDE:

           (A)   A DUTY TO ACT AT ALL TIMES IN GOOD FAITH TOWARDS THE
                 COMPANY.

           (B)   A DUTY TO ACCEPT ALL REASONABLE SETTLEMENT DEMANDS WITHIN
                 THE RETAINED LIMIT.

           (C)   A DUTY TO EXPLORE REASONABLE SETTLEMENT POSSIBILITIES EVEN
                 IN THE ABSENCE OF A SETTLEMENT DEMAND.

           (D)   A DUTY TO PROMPTLY REMIT ITS PORTION OF ANY SETTLEMENT
                 AMOUNT AND ADJUSTMENT EXPENSES IN ORDER TO EFFECTUATE A
                 SETTLEMENT.

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      (7)    If required the insured shall provide written reports of all occurrences, claims or suits
             including a description of each loss and amounts paid and/or reserved.

(G)   SPECIAL CONDITIONS

      (1)    The insured shall employ the firm of National Claim Services, Inc.,1301 Hightower
             Trail, Suite 210, Atlanta, GA 30350, (800) 424-0132 for the purpose of providing
             claims service. In the event of cancellation, expiration or revision of the contract
             between the insured and the Self-Insurance Service Company, the insured shall
             notify the Company within ten (10) days of the expiration or revision.

      (2)    The insured may procure insurance for all or any part of the Retained Limit,
             however, the existence of any such insurance shall not relieve the insured of any of
             the duties or obligations contained in this endorsement unless specifically agreed by
             the Company and endorsed hereon.

      (3)    At its own expense, the Company shall have the right to assume charge of the
             defense and/or settlement of any claim or suit brought against the insured and, upon
             written request from the Company, the insured shall tender such portion of the self-
             insured retention as the Company may deem necessary to complete the settlement
             of such claim or suit.

      (4)    Failure of the insured to promptly remit amounts due within the retained limit in
             connection with settlements, judgments and loss adjustment expenses under this
             policy or any policy of which this policy is a renewal shall be deemed to be non-
             payment of premium.

      (5)    Unless expressly endorsed to the contrary, each Named Insured under this policy
             shall be jointly and severally liable for amounts due within the Retained Limit.


This endorsement is subject to all the agreements, conditions and exclusions of the policy
unless such agreements, conditions and exclusions are expressly modified or expressly
eliminated hereby.




            ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



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                                   ENDORSEMENT #15


                 COVERAGE LIMITATION - SUBCONTRACTED WORK



It is hereby agreed that this policy shall not apply to "bodily injury", "property damage", "personal
injury", or "advertising injury" arising out of work performed on your behalf by a subcontractor
"engaged" by you unless you have complied with at least one of the following conditions:

(1) Contractual Indemnification: You have entered into a valid and enforceable contract
with each subcontractor "engaged" by you out of whose work (or work performed by any person
or entity "engaged" by such contractor) such "bodily injury", "property damage", "personal
injury", or "advertising injury" arose.

     (a)   Such contract shall stipulate that such subcontractor "engaged" by you will agree to
           defend, hold harmless and indemnify you and any person on whose behalf you are
           performing work and/or are required to defend, hold harmless and indemnify
           (including but not limited to property owners, general contractors, government
           entities, and construction managers).

     (b)   Such indemnification shall apply to the fullest extent permitted by applicable law in
           the event of loss, including, but not limited to any "suit" arising out of any loss
           suffered by any employee of the subcontractor (and any person or any employee of
           any entity "engaged" by such subcontractor).

     (c)   Such indemnification shall apply unless such loss arises solely out of your
           negligence.

(2) Insurance Coverage: You and any person on whose behalf you are performing work
and/or are required to defend, hold harmless and indemnify (including but not limited to property
owners, general contractors, government entities and construction managers) are named as
additional insureds under a valid and collectible Commercial General Liability Policy written on
behalf of each subcontractor "engaged" by you out of whose work (or work performed by any
person or entity "engaged" by such contractor) such "bodily injury", "property damage",
"personal injury", or "advertising injury" arose.

     (a)   Such policy shall be written on terms no less broad than ISO Form CG 00 01 10 01
           (2001 Occurrence Form) with limits of not less than $1,000,000. any one occurrence,
           $2,000,000. general aggregate and $1,000,000. products-completed operations
           aggregate.

     (b)   Such coverage shall apply to the fullest extent permitted by applicable law in the
           event of loss, including, but not limited to any "suit" arising out of any loss suffered
           by an employee of the subcontractor (and any person or any employee of any entity
           "engaged" by such subcontractor).

     (c)   Such coverage shall apply to such loss unless such loss arises solely out of your
           negligence.




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     (d)    Such coverage shall be primary to any limits available under this policy,
            notwithstanding any other clause to the contrary, including but not limited to any
            Other Insurance Clause contained in this policy or subcontractor's policy.

     (e)    You will endeavor to obtain certificates of insurance evidencing such coverage from
            all such subcontractors.

For purposes of this endorsement, "engaged" means obtained the services of, or contracted
with, to perform work, regardless of whether or not there exists a formal, written contract.


                          UNINTENTIONAL ERRORS & OMISSIONS


Notwithstanding the Coverage Limitation – Subcontracted Work Endorsement, shown above, it
is hereby agreed that the following shall apply:

     As a condition of binding coverage, you agree to have written procedures in place
     requiring indemnification from subcontractors “engaged” by you.

     However, in the event of your unintentional non-compliance with Paragraph (1) of
     the Coverage Limitation – Subcontracted Work Endorsement where the
     subcontractor does not provide coverage in accordance with Paragraph (2) of the
     Coverage Limitation – Subcontracted Work Endorsement, the self-insured retention
     is amended to read $25,000.00 with respect to any loss arising out of work
     performed on your behalf by such subcontractor.




           ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



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                                     ENDORSEMENT #16


                      TERRORISM EXCLUSION CLAUSE – ABSOLUTE



This policy excludes any loss, damage, liability or expense arising from:

a)     terrorism; and or
b)     steps taken to prevent, suppress, control or reduce the consequences of any actual,
       attempted, anticipated, threatened, suspected or perceived terrorism.

For the purpose of this clause, “terrorism” means any act(s) of any person(s) or
organization(s) involving:

(i)    the causing, occasioning or threatening of harm of whatever nature and by whatever
       means;

(ii)   putting the public or any section of the public in fear,

in circumstances in which it is reasonable to conclude that the purpose(s) of the person(s)
or organization(s) concerned are wholly or partly of a political, religious, ideological or
similar nature.

DERIVED FROM JOINT EXCESS LOSS COMMITTEE TERRORISM EXCLUSION CLAUSE
16/11/01 XL 2001/002.




           ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



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                                   ENDORSEMENT #17


                            DESIGNATED PROJECT COVERAGE



Notwithstanding anything to the contrary hereunder, such coverage as provided by this policy
will only apply to the construction project being performed at the following location:

The demolition of one (1) vacant commercial building and the ground up construction of a seven
         (7) story, one hundred fifty-five (155) room hotel, 90,000 SQ FT located at:

                                        96 Wythe Avenue
                                       Brooklyn, NY 11211

Coverage will be limited to the scheduled project, details of which are on file with Prime
Specialty, Inc.

Premium shall be deemed fully earned at the conclusion of the project.




          ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



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                                   ENDORSEMENT #18


                                      MTBE EXCLUSION



In consideration of the premium charged and notwithstanding anything to the contrary contained
in this policy, it is hereby agreed that the coverage afforded by this policy does not apply to
“bodily injury”, “personal and advertising injury” or “property damage” arising out of:

1)   inhaling, ingesting or prolonged physical exposure to Methyl Tertiary-Butyl Ether (MTBE)
     or goods or products containing MTBE; or

2)   the use of MTBE in construction or manufacturing any good, product or structure; or

3)   the removal of MTBE from any good, product or structure; or

4)   the manufacture, transportation, storage or disposal of MTBE or goods or products
     containing MTBE.

The coverage afforded by the policy does not apply to payment for the investigation or defense
of any loss, injury or damage or any cost, fine or penalty or for any expense or claim or suit
related to any of the above.




          ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



PRIME SPECIALTY, INC.                                1                                    PSG-030
21-22108-rdd       Doc 468     Filed 03/23/22 Entered 03/23/22 22:27:40            Main Document
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                                    ENDORSEMENT #19


     EXTERIOR INSULATION FINISH SYSTEMS (EIFS) EXCLUSION – ABSOLUTE



In consideration of the premium charged, it is hereby agreed that coverage afforded by this
policy does not apply to “bodily injury”, “personal injury” or “property damage” arising out of:

1.    The design, manufacture, construction, fabrication, preparation, installation, application,
      maintenance or repair, including removal, remodeling, service, correction or replacement
      of an “exterior insulation and finish system” (commonly referred to as synthetic stucco)
      or any part thereof, or any substantially similar system or any part thereof, including the
      application of use of conditioners, primers, accessories, flashings, coatings, caulkings or
      sealants in connection with such a system.

2.    Any work or operations with respect to any exterior component, fixture or feature of any
      structure if an “exterior insulation and finish system” is used on any part of that
      structure.

For the purposes of this endorsement, an “exterior insulation and finish system” means an
exterior cladding or finish system used on any part of any structure and consisting of:

a)    a polystyrene insulation board that is attached to the substrate:
b)    a reinforced base coat; and
c)    a finish coat providing surface texture and color.

The coverage afforded by the policy does not apply to payment for the investigation or defense
of any loss, injury or damage or any cost, fine or penalty or for any expense or claim or suit
related to any of the above.

Notwithstanding the foregoing, this policy shall apply to claims for “Bodily Injury” sustained
during the installation of an “exterior insulation and finish system”.




          ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



PRIME SPECIALTY, INC.                                 1                                   PSG-022A
21-22108-rdd      Doc 468      Filed 03/23/22 Entered 03/23/22 22:27:40              Main Document
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                                    ENDORSEMENT #20


                    SEXUAL AND/OR PHYSICAL ABUSE EXCLUSION



This policy shall not apply to any loss, cost, claim, damage or expense caused by, resulting
from, or arising out of Sexual and/or Physical Abuse, Physical or Non-Physical Sexual
Harassment, or Molestation by: (1) the insured, (2) any past or present employee of the insured,
(3) subcontractors of the insured or any employees thereof, or (4) any person performing
volunteer services by or on behalf of the insured.

It is further agreed that this policy shall not apply to any Sexual and/or Physical Abuse, Physical
or Non-Physical Sexual Harassment, or Molestation as set forth above arising out of or alleged
to have arisen out of “Negligent Employment.”

“Negligent Employment” shall be defined to include any negligent act, error or omission in the
hiring, background investigation, retention or “negligent supervision” of any person for whom the
insured is or was legally responsible. For purposes of this endorsement “negligent supervision”
shall be defined to include any act, error or omission in reporting to or in failing to report federal,
state or local administrative or regulatory body any actual or suspected Sexual and/or Physical
Abuse, Physical or Non-Physical Sexual Harassment, or Molestation.

It is further agreed that the Company shall have no duty or obligation to provide or pay for the
investigation or defense of any loss, claim or suit excluded hereunder.




          ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



PRIME SPECIALTY, INC.                                 1                                      PSG-049
21-22108-rdd     Doc 468     Filed 03/23/22 Entered 03/23/22 22:27:40            Main Document
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                                   ENDORSEMENT #21


                              CROSS LIABILITY EXCLUSION



It is hereby agreed that this policy shall not apply to any liability of one Named Insured for
“bodily injury” or “personal injury” to an employee of another Named Insured, nor shall it apply to
“property damage” to real or personal property of another Named Insured.




         ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



PRIME SPECIALTY, INC.                               1                                    PSG-012
21-22108-rdd     Doc 468     Filed 03/23/22 Entered 03/23/22 22:27:40            Main Document
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                                   ENDORSEMENT #22


                                   SILICOSIS EXCLUSION



In consideration of the premium charged and notwithstanding anything to the contrary contained
in this policy, it is hereby agreed that this policy does not apply to "bodily injury" or "personal
injury" arising out of the inhaling, ingesting or prolonged exposure to sand or silica dust or to
goods or products containing sand or silica dust. It is further agreed that this policy shall not
apply to payment for investigation or defense of any loss, injury or damage or for any fine,
penalty or punitive damages related to the foregoing.




         ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



PRIME SPECIALTY, INC.                               1                                    PSG-062
21-22108-rdd    Doc 468     Filed 03/23/22 Entered 03/23/22 22:27:40         Main Document
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                                 ENDORSEMENT #23


                        OCCUPATIONAL DISEASE EXCLUSION



It is understood and agreed that this insurance shall not cover any liability, loss, damage or
expense as regards bodily injury and/or personal injury (fatal or non-fatal) resulting from
occupational disease sustained by any employee of the Named Insured.




         ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



PRIME SPECIALTY, INC.                             1                                 PSG-032
21-22108-rdd      Doc 468        Filed 03/23/22 Entered 03/23/22 22:27:40         Main Document
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                                     ENDORSEMENT #24


                          CONSTRUCTION DEFECT EXCLUSION



In consideration of the premium charged, it is hereby agreed that the policy is amended as
follows:

(A)   Exclusion 2.l set forth in Section I is amended to read:

      l.   Damage to Your Work
           “Property damage” to “your work”.

(B)   For purposes of the definition of “your work” set forth in Section V, “Work or operations
      performed by you or on your behalf” shall include but not be limited to work performed by
      your subcontractors or by any subcontractors of your subcontractors.

(C)   Clause 14.c. of the definition of “Personal and advertising injury” set forth in Section V,
      “The wrongful eviction from, wrongful entry into, or invasion of the right of private
      occupancy of a room, dwelling or premises that a person occupies, committed by or on
      behalf of its owner, landlord or lessor,” is deleted where the foregoing arises in whole or in
      part out of “your work”.




           ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



PRIME SPECIALTY, INC.                                1                                    PSG-010
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                                  ENDORSEMENT #25

                         SUBCONTRACT AGREEMENT RIDER
                         (CONTRACTOR/SUBCONTRACTOR)


In consideration of the premium charged, and notwithstanding anything to the contrary
contained in this policy, it is hereby agreed that in all instances in which the Named Insured
engages a subcontractor, and prior to any operations performed by said subcontractor, the
following Subcontract Agreement will be signed by both the Named Insured and the
subcontractor:

The terms and conditions of this Rider shall supersede and govern any inconsistent term found
in other parts of the written agreement and other riders between the parties.

1.   Indemnity. In consideration of the Contract Agreement, and to the fullest extent
     permitted by law, the Subcontractor shall defend and shall indemnify, and hold
     harmless, at Subcontractor’s sole expense, the Contractor, all entities the Contractor is
     required indemnify and hold harmless, the Owner of the property, and the officers,
     directors, agents, employees, successors and assigns of each of them from and
     against all liability or claimed liability for bodily injury or death to any person(s), and for
     any and all property damage or economic damage, including all attorney fees,
     disbursements and related costs, arising out of or resulting from the Work covered by
     this Contract Agreement to the extent such Work was performed by or contracted
     through the Subcontractor or by anyone for whose acts the Subcontractor may be held
     liable, excluding only liability created by the sole and exclusive negligence of the
     Indemnified Parties. This indemnity agreement shall survive the completion of the
     Work specified in the Contract Agreement.

2.   Insurance. The Subcontractor shall procure and shall maintain until final acceptance
     of the Work, such insurance as will protect the Contractor, all entities the Contractor is
     required indemnify and hold harmless, the Owner, and their officers, directors, agents
     and employees, for claims arising out of or resulting from Subcontractor’s Work under
     this Contract Agreement, whether performed by the Subcontractor, or by anyone
     directly or indirectly employed by Subcontractor, or by anyone for whose acts
     Subcontractor may be liable. Such insurance shall be provided by an insurance carrier
     rated “A-” or better by A.M. Best and lawfully authorized to do business in the
     jurisdiction where the Work is being performed.

     2.1. The Subcontractor’s insurance shall include contractual liability coverage and
          additional insured coverage for the benefit of the Contractor, Owner and anyone
          else the Owner is required to name (as set forth in the schedule below), and shall
          specifically include coverage for completed operations. The insurance required
          to be carried by the Subcontractor and any Sub-Sub-Contractors shall be
          PRIMARY AND NON-CONTRIBUTORY. With respect to each type of insurance
          specified hereunder, the Contractor’s and Owner’s insurances shall be excess to
          Subcontractor’s insurance.

     2.2. The Subcontractor warrants that the coverage provided under the commercial
          general liability policy shall be written on an “occurrence” basis with coverage as
          broad as the Insurance Service Office Inc.’s form and that no policy provisions
          shall restrict, reduce, limit or otherwise impair contractual liability coverage or the
          Contractor’s, Owner’s (or others as required and as listed below) status as
          additional insured.
PRIME SPECIALTY, INC.                               1                                     PSG-055
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     2.3. Not less than five (5) days prior to commencement of the Work and until final
          acceptance of the Work, Subcontractor shall provide Contractor with certificate(s)
          of insurance evidencing the required insurance coverage with the limits stated
          below or elsewhere in the Subcontract documents. The Subcontractor shall
          provide Contractor thirty (30) days written notice of a change or cancellation in
          coverage. In addition, all insurance policies shall state that the insurer will
          provide Contractor thirty (30) days prior written notice of a change or cancellation
          in coverage.

     2.4. Unless otherwise stipulated in the Contract Agreement, the Subcontractor shall
          maintain no less than the limits specified for each of the following insurance
          coverages:

           a)   Commercial General Liability using an industry standard unmodified coverage
                form including contractual liability with minimum limits of $1,000,000 each
                occurrence, $2,000,000 aggregate with either per project or per location
                endorsement for property damage and bodily injury;

           b)   Comprehensive Automobile Liability insurance with minimum limits of
                $1,000,000 combined single limit each accident, including bodily injury and
                property damage liability;

           c)   Workers' Compensation and disability benefit insurance including Occupational
                Disease in the minimum amounts as required by the jurisdiction where the
                Work is performed.

     2.5. The Subcontractor and his insurer shall waive all rights of subrogation against the
          Contractor, Owner and any other indemnified party, except as respects Worker’s
          Compensation insurance.

     2.6. If Subcontractor engages a Sub-Subcontractor, it is the affirmative duty of the
          Subcontractor to ensure that any Sub-Subcontractor complies with the insurance
          and indemnification requirements of this Contract Agreement.

List of Indemnified Parties and Additional Insureds:



Acknowledged by:

 Contractor:                                   Subcontractor:

  Signature:                                       Signature:

     Name:                                             Name:

       Title:                                           Title:

      Date:                                            Date:




         ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.

PRIME SPECIALTY, INC.                             2                                 PSG-055
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                                 ENDORSEMENT #26


                                   HIRING WARRANTY



With respect to the designated project covered hereunder, it is understood and agreed that all
contractors at the project site are hired through or engaged by the General Contractor (SYG
Realties, LLC).




         ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



PRIME SPECIALTY, INC.                             1                                PSG-024A
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                                  ENDORSEMENT #27


   ADDITIONAL INSURED – MORTGAGEE, ASSIGNEE, LENDER OR RECEIVER



It is agreed that this Policy shall include as additional insureds the following mortgagee,
assignee, lender, or receiver to whom the Named Insured has agreed by written contract to
provide coverage, but only with respect to their liability as mortgagee, assignee, lender, or
receiver and arising out of the ownership, maintenance, or use of the premises as described in
ENDORSEMENT #17 – DESIGNATED PROJECT COVERAGE by you and only with respect to
occurrences subsequent to the making of such written contract.

ADDITIONAL INSURED:

Downstate Capital Partners, LLC
One Baker Avenue
Suite 260
White Plains, NY 10601




         ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



PRIME SPECIALTY, INC.                             1                                 PSG-073
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                                 ENDORSEMENT #28


                                PRIOR WORK EXCLUSION



It is understood and agreed that this policy shall exclude all liabilities arising out of work
performed at the designated project site prior to September 28, 2012.




         ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.



PRIME SPECIALTY, INC.                             1                                PSG-043A
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                                   EXHIBIT B
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                     NOTICE TO OUR BROKERS AND AGENTS
                    OF OUR CLAIM NOTIFICATION PROCEDURE


       As part of our continuing effort to provide you with the best service available, ALL
       CLAIMS, OCCURRENCES, INCIDENTS and LAWSUITS under this policy are to be
       reported immediately to:



       RLI Insurance Company

       Email (preferred): New.Claim@rlicorp.com

       Fax: (866) 692-6796

       Phone: (800) 444-0406

       Street Address: 9025 N. Lindbergh Drive, Peoria, IL 61615

       Mailing Address: P.O. Box 3961, Peoria, IL 61612-3961



       When reporting the incident, be prepared to supply a report of claim or the following
       information:

       1.     Policy Number
       2.     Contact Person information (name, address, phone, etc.)
       3.     Nature of incident
       4.     Date of incident

       When reporting multiple incidents, please send each loss notice separately.




RIL 2131 (08/12)
        21-22108-rdd
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                                         RLI Insurance Company
                                             Peoria, Illinois 61615


                                ATTENTION POLICYHOLDER:

                  KEEP THIS NOTICE WITH YOUR INSURANCE PAPERS

        Any person who knowingly and with intent to defraud any insurance company or other person
        files an application for insurance or statement of claim containing any materially false,
        incomplete, or misleading information, or conceals information concerning any material fact
        thereto, commits a fraudulent insurance act, which is a crime punishable by incarceration, and
        shall also be subject to civil penalties.




RIL 200 (07/98)                                                                                     Page 1 of 1
                                                    Insured
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                                     RLI Insurance Company
                                         Peoria, Illinois 61615


                             ATTENTION POLICYHOLDER

                   KEEP THIS NOTICE WITH YOUR INSURANCE PAPERS

       THIS NOTICE IS BEING PROVIDED TO YOU AT THE DIRECTION OF YOUR STATE.
       IT IS FOR YOUR INFORMATIONAL PURPOSES ONLY AND IS NOT PART OF THE
       POLICY.


       THIS POLICY CONTAINS CERTAIN ENDORSEMENTS WHICH LIMIT OR EXCLUDE
       SPECIFIC COVERAGES. PLEASE READ IT CAREFULLY AND CONTACT THE
       COMPANY OR YOUR AGENT IF YOU HAVE ANY QUESTIONS.




UW 20126 (05/93)
                                                Insured
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                                       RLI Insurance Company
                                           Peoria, Illinois 61615




                                    IMPORTANT NOTICE
                               LOSS CONTROL/ENGINEERING
                                     TO ALL POLICYHOLDERS


              We appreciate you choosing RLI as your liability carrier. We share your
              interest in safety and loss prevention. Safety and loss control services and
              needs vary from insured to insured. We suggest that you discuss your needs
              with your agent or broker.

              If you need our assistance in securing services that fit your needs, please
              contact us at:


                                    RLI INSURANCE COMPANY
                                     9025 N. LINDBERGH DR.
                                     PEORIA, ILLINOIS 61615

                                            309-692-1000




UW20130 (01/98)                                                                              Page 1 of 1
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                    IMPORTANT NOTICE TO POLICYHOLDERS

                    TERRORISM RISK INSURANCE ACT, AS AMENDED

Under the Terrorism Risk Insurance Act, as amended (the "Act"), we must make coverage for "certified
acts of terrorism" available in the policies we offer. We notified you at the time of offer and purchase
of the policy to which this Notice is attached that this coverage was available and we gave you the right
to reject our offer of such terrorism coverage. If you elected to purchase the coverage, the premium
charged for such coverage is shown on the Declarations page of the policy. If you elected to reject the
coverage we have not charged your policy for terrorism coverage and have attached a terrorism
exclusion to your policy.

You should know that where coverage is provided by this policy for losses resulting from certified acts
of terrorism, such losses may be partially reimbursed by the United States government under a formula
established by federal law. Under this formula, the United States government generally reimburses 85%
of covered terrorism losses exceeding the statutorily established deductible paid by the insurance
company providing the coverage.

You should also know that the Act contains a $100 billion cap that limits U.S. Government
reimbursement as well as insurers' liability for losses resulting from certified acts of terrorism when the
amount of such losses in any one calendar year exceeds $100 billion. If the aggregate insured losses for
all insurers exceed $100 billion, your coverage may be reduced.

Specific coverage terms for terrorism, including limitations and exclusions, are more fully described in
endorsements attached to the policy. Your policy may contain an exclusion for losses that are not
eligible for federal reinsurance under the Act.

Definitions:

"Certified act of terrorism," as defined in Section 102(1) of the Act, means an act that is certified by
the Secretary of the Treasury – in concurrence with the Secretary of State, and the Attorney General of
the United States – to be an act of terrorism; to be a violent act or an act that is dangerous to human life,
property, or infrastructure; to have resulted in damage within the United States, or outside the United
States in the case of certain air carriers or vessels or the premises of a United States mission; and to have
been committed by an individual or individuals as part of an effort to coerce the civilian population of
the United States or to influence the policy or affect the conduct of the United States Government by
coercion.

Questions regarding your election should be directed to your agent or broker.




RIL 2133A (01/08)                                                                                  Page 1 of 1
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               Peoria, Illinois 61615
               Phone: (309) 692-1000
               (herein called the "Company")

EXCESS LIABILITY POLICY
DECLARATIONS
NO. RXL0261775                                  PRODUCER CRC Insurance Service
New Policy                                        01136  140 Broadway 36th Floor
                                                         New York, NY 10005


ITEM 1. NAMED INSURED AND ADDRESS
96 Wythe Acquisition LLC
1274 49th Street
Suite 184
Brooklyn, NY 11211

ITEM 2. POLICY PERIOD (Mo./Day/Yr.)
FROM 11/29/2012 TO 09/28/2015 12:01 A.M. Standard Time at the address of the Named Insured as stated herein.
ITEM 3. PREMIUM COMPUTATION               Policy Minimum At Audit $N/A
Advance Premium $ 125,000                 Estimated Exposure N/A                         Rate $FLAT
Minimum Premium $ 125,000                 Premium Basis N/A                              Audit Period N/A
CA Surcharge    $                         Total Due $ 125,000                                               (annual unless noted)
ITEM 4. The insurance afforded is only with respect to such and so many of the following coverages as are indicated by
specific limit or limits of liability. As respects such coverages this policy shall apply as excess of the Underlying Insurance
Limits of Liability and the Company shall be liable only for the Company Limits of Liability as shown below.
                                                                                                          SECTION II
                                            SECTION I                                               UNDERLYING INSURANCE
           COVERAGES                 COMPANY LIMITS OF LIABILITY                                      LIMITS OF LIABILITY
A. Bodily Injury – Automobile             $                            Each Occurrence                  $
B. Bodily Injury – Other                  $                            Each Occurrence                  $
   Than Automobile                        $                            Aggregate                        $
C. Property Damage – Automobile           $                            Each Occurrence                  $
D. Property Damage – Other                $                            Each Occurrence                  $
   Than Automobile                        $                            Aggregate                        $
E. Combined Single Limit
   Bodily Injury and Property             $                            Each Occurrence                  $
   Damage – Automobile
F. Combined Single Limit                  $ 10,000,000                 Each Occurrence                  $ 1,000,000
   Bodily Injury and/or                   $ 10,000,000                 General Aggregate                $ 2,000,000
   Property Damage – Other                $ 10,000,000                 Products-Completed               $ 2,000,000
   Than Automobile                                                     Operations Aggregate
G. Other                                  $                                                             $
                                          $                                                             $
                                          $                                                             $
ITEM 5. SCHEDULE OF UNDERLYING INSURANCE Insurer, Policy Number and Dates
GL: State National Insurance Company, Policy Number on File, 09/28/2012-09/28/2015.

ITEM 6. FORMS AND ENDORSEMENTS ATTACHED AND MADE A PART OF THIS POLICY AT ISSUE
See Attached Schedule of Endorsements




KS 12/4/2012                                                Countersigned by
                                                                               Authorized Representative
CXL 130 (11/91)                                                                                                     Page 1 of 1
                                                           Insured
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                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        COMMERCIAL COVERAGE SCHEDULE OF ENDORSEMENTS

The following is a listing of endorsements by Form Number and Title that form a part of the policy at issue:
MXL-131(02/05)                 Commercial Excess Liability Policy
CEE-238(11/91)                 Designated Premises and/or Projects Limitation, Page 1
CEE-244(11/91)                 Discrimination Exclusion
CEE-283(11/91)                 Minimum Earned Premium Agreement
CEE-310(11/91)                 Property Damage Limitation Real Property
CEE-335(11/91)                 Unimpaired Aggregate Endorsement
CEE-357(05/12)                 Pollution Exclusion
CEE-396(11/01)                 Continuous or Progressive Injury and Damage Exclusion
CEE-397(12/01)                 Breach of Contract Exclusion
CEE-402(03/00)                 Property Damage Limitation - Personal Property
CEE-419(05/06)                 Mold, Mildew and Fungus Exclusion
CEE-431(07/11)                 New York Changes
CUE-600(11/03)                 Exclusion - Residential Developments
CUE-604(05/04)                 Amendment - Cancellation Provision
CUP-437(10/03)                 Absolute Silica Exclusion
RIL-2126(11/09)                Exclusion - Terrorism




                  ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.

RIL 100 (06/98)                                                                                                Page 1 of 1
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                         COMMERCIAL EXCESS LIABILITY POLICY
                                                   (Occurrence Form)


Various provisions in this policy restrict coverage. Read             B. Defense And Expense Of Claims And Suits
the entire policy carefully to determine rights, duties and
what is and is not covered.                                              1. We shall not be obligated to assume charge
                                                                            of or participate in the settlement or defense
Throughout this policy the words "you" and "your" refer to                  of any claim made, or suit brought, or pro-
the "Named Insured" shown in the Declarations. The                          ceedings instituted against the insured. How-
words "we," "us" and "our" refer to the Company providing                   ever, we shall have the right and opportunity
this insurance.                                                             to be associated with the insured in the de-
                                                                            fense of any claim, suit or proceeding which,
The word "insured" means any person or organization                         in our opinion, may create liability under the
qualifying as an insured person under the terms of the                      terms of this policy. If we assume such right
underlying insurance.                                                       and opportunity, we shall not continue to de-
                                                                            fend or participate in the defense of any claim
Other words and phrases that appear in bold print have                      or suit after the applicable limit of liability of
special meaning. Refer to SECTION II. DEFINITIONS.                          this policy has been exhausted.

In consideration of the payment of premium, in reliance                  2. We shall not pay any expenses except as
upon the statements in the Declarations and Schedule of                     follows:
Underlying Insurance which are made a part of this policy,
and subject to the terms, conditions and exclusions of this                  a. If the insured is legally liable for interest
policy we agree with you as follows:                                            which accrues on a judgment after the
                                                                                entry of the judgment and before we have
I.   INSURING AGREEMENT                                                         paid, offered to pay, or deposited in court
                                                                                the amount of the judgment to which this
     A. Coverage                                                                policy applies, then we will pay the in-
                                                                                terest on the amount of the judgment to
        Subject to the other provisions of this policy, we
                                                                                which this policy applies.
        will pay on behalf of the insured the insured's
        ultimate net loss if such loss results from an
                                                                             b. If an expense is incurred directly by us
        occurrence insured by underlying insurance.
                                                                                and solely at our discretion, then we will
        However, the insurance afforded by this policy
                                                                                pay such expense.
        shall apply: (a) only in excess of the underlying
        insurance; (b) only after the underlying in-
                                                                             c. If a payment for damages is made under
        surance has been exhausted by payment of the
                                                                                this policy, then we will pay related pre-
        limits of liability of such insurance; and (c) only if
                                                                                judgment interest for which the insured is
        caused by an occurrence which takes place
        during the policy period and anywhere in the                            legally liable, provided:
        world; provided however, if suit is brought, such
        suit is brought in the United States, its territories                    (1) The underlying insurance pays pre-
        or possessions, or Canada. If the underlying                                 judgment interest; and
        insurance does not pay a loss, for reasons other
        than exhaustion of an aggregate limit of liability,                      (2) Our share of prejudgment interest
        then we shall not pay such loss.                                             shall not exceed the proportion that
                                                                                     payment for damages under this
        This policy, except where provisions to the con-                             policy bears to the total damages
        trary appear herein, is subject to all of the condi-                         determined by final judgment or
        tions, agreements, exclusions, and limitations of                            settlement.
        and shall follow the underlying insurance in all
        respects. This includes changes by endorsement.                  3. Subject to all of the foregoing:




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           a. If the defense expense payments are in-                     damages in settlement or satisfaction of claims or
              cluded within the limit of liability of the                 suits for which insurance is afforded under this
              underlying insurance by the terms of                        policy, after proper deduction for all recoveries or
              that policy, then any such expense pay-                     salvage.
              ment we make shall reduce the limit of
              liability of this policy.                                   Ultimate net loss shall include defense expense
                                                                          payments made by the insurer of the underlying
           b. If the underlying insurance does not in-                    insurance, provided that such expenses are in-
              clude defense expense payments within                       cluded within the limit of insurance of the under-
              its limit of liability by the terms of that pol-            lying insurance by the terms of that policy.
              icy, then any such expense payment we
              make shall not reduce the limit of liability             B. Underlying insurance means the policy or pol-
              of this policy.                                             icies of insurance in the Schedule of Underlying
                                                                          Insurance.
   C. Limits Of Liability
                                                                   III. EXCLUSIONS
       1. The limit of liability stated in the Declarations
          as applicable to "each occurrence" shall be                  Regardless of whether or not such coverage is
          the total limit of our liability for all ultimate net        afforded by any underlying insurance, this policy
          loss sustained by any one person or as the                   does not apply:
          result of any one occurrence as applied to the
          appropriate coverage.                                        A. Pollution
       2. Subject to the limit of liability for "each                     1. Advertising injury, bodily injury, personal
          occurrence":                                                       injury or property damage arising out of the
                                                                             actual, alleged or threatened discharge,
           a. The limit of liability stated in the Decla-                    dispersal, seepage, migration, release or
              rations as "general aggregate" is the most
                                                                             escape of pollutants:
              we will pay during each policy period for
              all ultimate net loss, except ultimate net
                                                                              a. That are, or that are contained in any
              loss because of injury and damage
                                                                                 property that is:
              included in the "products-completed oper-
              ations hazard"; and
                                                                                  (1) Being moved from the place where
                                                                                      such property or pollutants are ac-
           b. The limit of liability stated in the Decla-
                                                                                      cepted by an insured for movement
              rations as "products-completed opera-
              tions aggregate" is the most we will pay                                into or onto an automobile;
              during each policy period for all ultimate
              net loss because of injury and damage                               (2) Being transported or towed by an
              included in the "products-completed op-                                 automobile;
              erations hazard."
                                                                                  (3) Otherwise in the course of transit by
       3. This insurance shall apply only as excess of                                or on behalf of an insured;
          the underlying insurance limits of liability
          shown in the Declarations. However, if the                              (4) Being stored, disposed of, treated or
          limit of liability of the underlying insurance                              processed in or upon an automobile;
          shown in the Declarations has been reduced                                  or
          or exhausted because of payments for an
          occurrence which took place during our policy                           (5) Being moved from an automobile to
          period, then this policy shall apply as excess                              the place where such property or pol-
          of such reduced limit of liability of the un-                               lutants are finally delivered, disposed
          derlying insurance.                                                         of or abandoned by an insured;

II. DEFINITIONS                                                               b. At or from any premises, site or location
                                                                                 which is or was at any time, owned or
   A. Ultimate net loss means all sums actually paid,                            occupied by, or rented or loaned to, any
      or which the insured is legally obligated to pay, as                       insured;


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          c. At or from any premises, site or location                c. The bodily injury or property damage is
             which is or was at any time used by or for                  not otherwise excluded under Paragraph
             any insured or others for the handling,                     1.a. of this exclusion.
             storage, disposal, processing or treatment
             of waste;                                                Paragraph 1.e.(1) above does not apply to
                                                                      bodily injury or property damage arising out of
          d. Which are or were at any time trans-                     the escape of fuels, lubricants or other op-
             ported, handled, stored, treated, disposed               erating fluids which are needed to perform the
             of, or processed as waste by or for any in-              normal electrical, hydraulic or mechanical
             sured or any person or organization for                  functions necessary for the operation of mo-
             whom any insured may be legally respon-                  bile equipment or its parts, if such fuels, lu-
             sible; or                                                bricants or other operating fluids escape from
                                                                      a vehicle part designed to hold, store or re-
          e. At or from any premises, site or location                ceive them. This exception does not apply if
             on which any insured or any contractors                  the fuels, lubricants or other operating fluids
             or subcontractors working directly or in-                are intentionally discharged, dispersed or re-
             directly on any insured's behalf are per-                leased, or if such fuels, lubricants or other op-
             forming operations;                                      erating fluids are brought on or to the prem-
                                                                      ises, site or location with the intent to be
              (1) If the pollutants are brought on or to              discharged, dispersed or released as part of
                  the premises, site or location in con-              the operations being performed by such
                  nection with such operations by such                insured, contractor or subcontractor.
                  insured, contractor or subcontractor;
                  or                                                  Paragraphs 1.b. and 1.e.(1) above do not ap-
                                                                      ply to bodily injury or property damage arising
              (2) If the operations are to test for, mon-             out of heat, smoke or fumes from a hostile
                                                                      fire.
                  itor, clean up, remove, contain, treat,
                  detoxify or neutralize or in any way
                                                                  2. Any loss, cost or expense arising out of any:
                  respond to, or assess the effects of
                  pollutants.
                                                                      a. Request, demand or order that any in-
                                                                         sured or others test for, monitor, clean up,
          Paragraphs 1.a.(4) and 1.b. through 1.e.
                                                                         remove, contain, treat, detoxify or neu-
          above do not apply to fuels, lubricants, fluids,
                                                                         tralize, or in any way respond to, or as-
          exhaust gases or other similar pollutants that
                                                                         sess the effects of pollutants; or
          are needed for or result from the normal
          electrical, hydraulic or mechanical functioning             b. Claim or suit by or on behalf of any gov-
          of an automobile or its parts, if the pollutants               ernmental authority or others for dam-
          escape, seep or migrate or are discharged,                     ages because of testing for, monitoring,
          dispersed or released directly from an auto                    cleaning up, removing, containing, treat-
          part designed by its manufacturer to hold,                     ing, detoxifying or neutralizing, or in any
          store, receive or dispose of such pollutants.                  way responding to, or assessing the ef-
                                                                         fects of pollutants.
          Paragraphs 1.b. through 1.e. above do not
          apply to pollutants not in or upon an auto-             As used in this exclusion:
          mobile if:
                                                                  1. Hostile fire means one which becomes un-
          a. The pollutants or any property in which                 controllable or breaks out from where it was
             the pollutants are contained are upset,                 intended to be; and
             overturned or damaged as a result of the
             maintenance or use of an automobile;                 2. Pollutants means any solid, liquid, gaseous or
                                                                     thermal irritant or contaminant, including
          b. The discharge, dispersal, seepage, mi-                  smoke, vapor, soot, fumes, acids, alkalis,
             gration, release or escape of the pollut-               chemicals and waste. Waste includes mate-
             ants is caused directly by such upset,                  rials to be recycled, reconditioned, reclaimed
             overturn or damage; and                                 or disposed of.


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   B. Nuclear Energy Liability Exclusion (Broad                    c. The loss arises out of the furnishing by an
      Form)                                                           insured of services, materials, parts or
                                                                      equipment in connection with the plan-
       This policy does not apply:                                    ning, construction, maintenance, opera-
                                                                      tion or use of any nuclear facility. If such
       1. Under any Liability Coverage, to ultimate net               facility is located within the United States
          loss:
                                                                      of America, its territories or possessions
                                                                      or Canada, this Exclusion 3. applies only
           a. With respect to which an insured under
              this policy is also an insured under a                  to ultimate net loss to such nuclear facil-
              nuclear energy liability policy issued by               ity and any property thereat.
              Nuclear Energy Liability Insurance Asso-
              ciation, Mutual Atomic Energy Liability              As used in this policy:
              Underwriters or Nuclear Insurance Asso-
              ciation of Canada, or would be an insured                Hazardous properties include radioactive,
              under any such policy but for its termi-                 toxic or explosive properties;
              nation upon exhaustion of its limit of lia-
              bility; or                                               Nuclear material means source material,
                                                                       special nuclear material or by-product
           b. Resulting from the hazardous properties
                                                                       material;
              of nuclear material and with respect to
              which (a) any person or organization is
              required to maintain financial protection                Source material, special nuclear material
              pursuant to the Atomic Energy Act of                     and by-product material have the mean-
              1954, or any law amendatory thereof, or                  ings given them in the Atomic Energy Act
              (b) the insured is, or had this policy not               of 1954 or in any law amendatory thereof;
              been issued would be, entitled to indem-
              nity from the United States of America, or               Spent fuel means any fuel element or fuel
              any agency thereof, under any agreement                  component, solid or liquid, which has
              entered into by the United States of                     been used or exposed to radiation in a
              America, or any agency thereof, with any                 nuclear reactor;
              person or organization.
                                                                       Waste means any waste material (1)
       2. Under any Medical Payment Coverage, or un-
                                                                       containing by-product material other than
          der any Supplementary Payments provision
                                                                       the tailings or waste produced by the ex-
          relating to first aid, to expenses incurred with
          respect to ultimate net loss resulting from                  traction or concentration of uranium or
          the hazardous properties of nuclear material                 thorium from any ore processed primarily
          and arising out of the operation of a nuclear                for its source material content, and (2)
          facility by any person or organization;                      resulting from the operation by any per-
                                                                       son or organization of any nuclear facility
       3. Under any Liability Coverage, to ultimate net                included within the definition of nuclear
          loss resulting from the hazardous properties                 facility under Paragraph (a) or (b) thereof;
          of nuclear material, if:
                                                                       Nuclear facility means:
           a. The nuclear material (a) is at any nuclear
              facility owned by, or operated by or on                      (a) Any nuclear reactor;
              behalf of, an insured, or (b) has been dis-
              charged or dispersed therefrom;
                                                                           (b) Any equipment or device design-
           b. The nuclear material is contained in spent                       ed or used for: (1) separating the
              fuel or waste at any time possessed,                             isotopes of uranium or plutonium,
              handled, used, processed, stored, trans-                         (2) processing or utilizing spent
              ported or disposed of by or on behalf of                         fuel, or (3) handling, processing
              an insured; or                                                   or packaging waste;



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                   (c) Any equipment or device used for                may elect to appeal. Our limit of liability shall not
                       the processing, fabricating or al-              be increased because of such appeal. Any appeal
                       loying of special nuclear material              we elect to make will be at our cost and expense.
                       if at any time the total amount of
                       such material in the custody of             B. Assignment – Your interest in this policy may not
                       the insured at the premises                    be transferred to another; except by an en-
                       where such equipment or device                 dorsement issued by us which gives our consent.
                       is located consists of or contains             If you die, this policy shall apply: (1) to your legal
                       more than 25 grams of plutonium                representative, but only while acting within the
                       or uranium 233 or any combina-                 scope of their duties as such; and (2) with respect
                       tion thereof, or more than 250                 to your property, to the person having proper
                       grams of uranium 235;                          temporary custody as an insured, but only until
                                                                      the appointment and qualification of the legal
                   (d) Any structure, basin, excavation,              representative.
                       premises or place prepared or
                       used for the storage or disposal            C. Changes – This policy may be changed only by
                       of waste;                                      an endorsement issued to form a part of the
                                                                      policy. Any endorsement must be signed by our
                       And includes the site on which                 duly authorized representative. Notice to you or to
                       any of the foregoing is located, all           our agent or knowledge possessed by us, by our
                       operations conducted on such                   agent or by any other person shall not affect a
                       site and all premises used for                 waiver or a change in any part of this policy. Nor
                       such operations;                               will such notice or knowledge prevent us from
                                                                      asserting any right under the terms of this policy.
                       Nuclear reactor means any ap-
                       paratus designed or used to                 D. Cancellation
                       sustain nuclear fission in a self-
                       supporting chain reaction or to
                                                                       1. The first Named Insured shown in the Dec-
                       contain a critical mass of fission-
                                                                          larations may cancel this policy by mailing or
                       able material;
                                                                          delivering to us or any of our authorized
                                                                          agents advance written notice of cancellation.
                       Ultimate net loss includes all
                       forms of radioactive contamina-
                                                                       2. We may cancel this policy by mailing or de-
                       tion of property.
                                                                          livering to the first Named Insured written
                                                                          notice of cancellation at least:
   C. Asbestos – to any and all liability for bodily in-
      jury, sickness or disease, sustained by a person,
      including death at any time resulting therefrom, or                  a. Ten (10) days before the effective date of
      for any occupational disease, or for property                           cancellation if we cancel for nonpayment
      damage, for past, present or future claims arising                      of premium; or
      in whole or in part, either directly or indirectly,
      including but not limited to claims arising from the                 b. Sixty (60) days before the effective date
      manufacture, distribution, sale, resale, rebrand-                       of cancellation if we cancel for any other
      ing, installation, repair, removal, encapsulation,                      reason.
      abatement, replacement or handling of, or expo-
      sure to, asbestos or products containing asbes-                  3. We will mail or deliver our notice to the first
      tos. This exclusion applies whether or not the                      Named Insured's last mailing address known
      asbestos is or was at any time airborne as fiber or                 to us.
      particle, contained in a product, carried on
      clothing, inhaled, transmitted in any fashion, or                4. Notice of cancellation will state the effective
      found in any form whatsoever.                                       date of cancellation. The policy period will end
                                                                          on that date.
IV. CONDITIONS
                                                                       5. If this policy is cancelled, we will send the first
   A. Appeal – In the event you or any underlying                         Named Insured any premium refund due. If
      insurer elect not to appeal a judgment in excess                    we cancel, the refund will be pro rata. If the
      of the amount of any underlying insurance, we                       first Named Insured cancels, the refund will


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           be computed at ninety percent (90%) of pro                    Underlying Insurance at the inception of this
           rata. The cancellation will be effective even if              policy and during our policy period except for
           we have not made or offered a refund.                         reduction of aggregate limits of liability by
                                                                         payment of losses. If any underlying insurance
       6. If notice is mailed, proof of mailing will be suf-             is not maintained in full effect by the insured, or if
          ficient proof of notice.                                       there is any material change in the terms,
                                                                         conditions or scope of coverage, by endorsement
   E. Duties In The Event Of Occurrence, Claim Or                        or otherwise, of any underlying insurance, the
      Suit                                                               insurance afforded by this policy shall apply in the
                                                                         same manner as though such underlying
       You must see to it that we receive prompt written                 insurance had been in full effect, so maintained
       notice of an occurrence which may result in a                     and unchanged. You agree to notify us promptly if
       claim under this policy. Notice should include                    any underlying insurance is cancelled or
       how, when and where the occurrence took place.
                                                                         terminated.
       The names and addresses of any injured persons
       and witnesses must be included.
                                                                    H. Premium – Premiums for this policy shall be
                                                                       stated in the Declarations and computed in
       If a claim is made or suit brought against any in-
                                                                       accordance with our rules, rates, rating plans,
       sured, you must see to it that we receive prompt
       written notice of the claim or suit.                            premiums, and minimum premiums applicable to
                                                                       this insurance. If this policy is issued for a period
       You and any other insured involved must:                        in excess of one year, the premium for this policy
                                                                       may be revised on each annual anniversary. Any
       1. Immediately send us copies of any demands,                   such revision will be in accordance with our
          notices, summonses or legal papers received                  manuals in effect at that time.
          in connection with the claim or suit;
                                                                         If the policy is issued on other than an audit basis,
       2. Authorize us to obtain records and other                       the Advance Premium becomes the policy pre-
          information;                                                   mium, subject to the Minimum Premium shown in
                                                                         the Declarations.
       3. Cooperate with us in the investigation, settle-
          ment, or defense of the claim or suit; and                     If the policy is issued on an audit basis, the
                                                                         premium designated on the Declarations page as
       4. Assist us, upon our request, in the enforce-                   Advance Premium shall be credited to the amount
          ment of any right against any person or or-                    of earned premium due at the end of the policy
          ganization which may be liable to the insured                  period. At the close of each audit period, the
          because of injury or damage to which this in-                  earned premium shall be computed for such
          surance may also apply.                                        period. Upon notice to you, it shall become due
                                                                         and payable. If the total earned premium exceeds
       It is a requirement of this policy that you do not                the Advance Premium previously paid, the
       make any admission of liability. You shall not, un-               amount by which the earned premium exceeds
       less we agree, incur any expense or make any                      the Advance Premium shall be due and payable
       payment. If you do, such liability, expense or pay-               to us by you. In no case shall the earned premium
       ment will be at your own cost.                                    be less than the Minimum Premium shown on the
                                                                         Declarations page.
   F. Bankruptcy Of The Underlying Insurer – In the
      event of the bankruptcy or insolvency of the in-
                                                                         You shall maintain records of such information as
      surer of any underlying insurance, the
                                                                         is necessary for premium computation. You shall
      insurance afforded by this policy shall not replace
                                                                         send copies of such records to us at the end of
      such underlying insurance. Rather, this policy
      shall apply in the same manner as though such                      this policy period. You shall also send us copies
      underlying insurance were available and                            of such records at such times during the policy
      collectible.                                                       period as we may direct.

   G. Maintenance Of Underlying Insurance – You                     I.   Legal Action Against Us – No legal action shall
      agree to maintain all underlying insurance in full                 be brought against us unless the insured has fully
      force and effect as scheduled in the Schedule of                   complied with all terms of this policy. In addition,


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       no legal action shall be brought against us until              M. Salvage – All salvage, recoveries, or payments
       the amount of the insured's obligation to pay has                 recovered or received subsequent to a loss
       been finally determined. The insured’s obligation                 settlement under this policy shall be applied as if
       to pay must be finally determined either by                       recovered or received prior to such settlement. All
       judgment against the insured after actual trial or                necessary adjustments shall then be made
       by written agreement between us, the insured and                  between the insured and us. Nothing in this
       the claimant.                                                     clause shall be construed to mean that losses
                                                                         under this policy are not recoverable until the
   J. Conformity – Terms of this policy which are in                     insured's ultimate net loss has been finally
                                                                         ascertained.
      conflict with the laws of the state wherein this
      policy is issued are hereby amended to conform
                                                                      N. Inspection And Audit – We shall be permitted
      to such laws.
                                                                         but not obligated to inspect your property and
                                                                         operations at any time. Neither our rights to make
   K. Other Insurance – If other insurance, whether                      inspections, nor the making thereof, nor any
      collectible or not, is available to the insured                    report thereon shall constitute an undertaking, on
      covering a loss also covered by this policy, other                 behalf of or for the benefit of you or others, to
      than insurance that is specifically excess of the                  determine or warrant that such property or
      insurance afforded by this policy, the insurance                   operations are safe.
      afforded by this policy shall be in excess of, and
      shall not contribute with, such other insurance.                    We may examine and audit your books and
                                                                          records at any time during the policy period and
   L. Subrogation – In the event of any payment under                     extensions thereof and within three (3) years after
      this policy, the insured must notify us of any of the               the final termination of this policy, as far as they
      insured's rights of recovery against any person or                  relate to the subject matter of this insurance.
      organization. We shall be subrogated to all such
      rights. The insured shall execute and deliver                   O. Separation Of Insureds – Except with respect to
      instruments and papers and do whatever else is                     the limits of liability this insurance applies as if
      necessary to secure such rights. The insured shall                 each Named Insured were the only Named
      do nothing after loss to prejudice such rights.                    Insured and separately to each insured against
                                                                         whom claim is made or suit is brought.
       Any amount recovered through subrogation or
                                                                      P. Payment Of Loss – It is a condition of this policy
       otherwise shall be apportioned in the inverse
                                                                         that the insurance afforded under this policy shall
       order of payment of the claim or claims involved                  apply only after the underlying insurance has
       to the extent of actual payment thereof by all                    been exhausted by payment of its limits of liability.
       interests. The expenses of all such recoveries and                Upon final determination by settlement, award or
       proceedings in connection therewith shall be                      verdict of the liability of the insured, we will
       apportioned in the ratio of respective recoveries.                promptly pay you as you shall pay, or be required
       With respect to proceedings conducted solely by                   to pay, the amounts of any losses falling within
       us, if there is no recovery, we will bear the                     the terms or limits of this insurance. All losses
       expense thereof. If there is a recovery, we shall                 covered under this policy shall be due and
       be reimbursed in full from such recovery for the                  payable by us within thirty (30) days after they are
       amount of all expenses incurred by us before                      respectively claimed and proof of loss filed with us
       apportionment of such recovery as herein                          in conformity with this policy. Bankruptcy or
       provided.                                                         insolvency of the insured shall not relieve us of
                                                                         any of our obligations hereunder.

IN WITNESS WHEREOF, we have caused this policy to be signed by our President and Secretary. However, the same
shall not be binding upon us unless it has been countersigned on the Declarations page by a duly authorized agent of
ours.



_____________________________________________                       _____________________________________________
              Corporate Secretary                                                   President & COO



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                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


            DESIGNATED PREMISES AND/OR PROJECTS LIMITATION

As respects premises owned, maintained or used by the insured or projects performed by or on behalf of the insured, this
insurance applies only to bodily injury, property damage, personal injury and advertising injury arising out of:

1. The ownership, maintenance or use of the premises shown in the Schedule below and operations necessary or
   incidental to those premises; or

2. The project shown in the Schedule.

                                                     SCHEDULE

Premises:



Project:
Ground up construction of a 7-story, 130 room hotel located
at 96 Wythe Avenue, Brooklyn, NY.




                  ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.


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                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                        MOLD, MILDEW AND FUNGUS EXCLUSION

In consideration of the premium for which this policy is issued, this insurance does not apply to, and we are not obligated to
defend, any loss, demand, claim, cost, expense, suit, bodily injury, property damage, personal injury, medical
payments, liability or other proceeding that in any way, in whole or in part, arises out of, relates to, or results from mold,
mildew or fungus.

As used in this exclusion, mold, mildew and fungus include:

(1) The actual, alleged or threatened exposure to, consumption, ingestion of, inhalation of, contact with, absorption of,
    existence of, or presence of, mold, mildew or fungus in any manner or form whatsoever, including without limitation
    mold, mildew, fungus, yeast, spores, mycotoxins, endotoxins, or other pathogens, as well as any odors, particulates or
    by-products of any of the foregoing, either directly or indirectly;

(2) The actual or alleged failure to warn, advise or instruct regarding mold, mildew or fungus in any manner or form what-
    soever; or

(3) The actual or alleged failure to prevent exposure to mold, mildew or fungus in any manner or form whatsoever.

This exclusion applies regardless of whether any other cause, event, material, product or condition, including but not
limited to water damage or water intrusion, contributed concurrently or in any sequence to such loss, demand, claim, cost,
expense, suit, bodily injury, property damage, personal injury, medical payments or liability.

This exclusion includes but is not limited to compliance with any request, demand, order, or statutory or regulatory require-
ment, or any action authorized or required by law, or any loss, cost or expense arising out of or relating to the investigation
of, abating, testing for, monitoring, cleaning up, removing, containing, treating, detoxifying, neutralizing, remediating or
disposing of, loss of use, diminution in value, loss of market value, or in any way responding to, or assessing the effects of
mold, mildew or fungus, as well as any costs, fees, expenses, penalties, judgments, fines, or sanctions arising from or
relating thereto.




                   ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.


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                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                        EXCLUSION – TERRORISM

This endorsement modifies insurance provided under the following:

COMMERCIAL UMBRELLA LIABILITY
EXCESS LIABILITY (FOLLOWING FORM)
EXCESS UMBRELLA LIABILITY
COMMERCIAL GENERAL LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

This insurance does not apply to any loss, claim, "suit" or other proceeding which alleges "Bodily Injury," "Property Dam-
age," "Personal And Advertising Injury" caused directly or indirectly by or arising from "Terrorism."

"Terrorism" includes but is not limited to:

A. Acts or threatened acts of violence, hostility or criminal conduct by a foreign or domestic enemy, whether or not war
   has been declared;

B. The disruption or threatened disruption of financial, governmental, transportation, communication, computer or utility
   services which appears to be for political, religious, economic, ecological or racial ends;

C. The use or threatened use of force, violence or criminal conduct which appears to be for political, religious, economic,
   cultural, ethnic, ecological or racial ends;

D. The use or threatened use of force, violence or criminal conduct for the apparent purpose of or with the result of harm-
   ing or intimidating a civilian population;

E. The use or threatened use of biological or chemical or nuclear substances for the apparent purpose of or with the
   result of harming or intimidating a civilian population;

F. Any act or threatened act of force, violence or criminal conduct by any person or persons acting on behalf of or in con-
   nection with any organization with a stated goal of overthrowing or influencing the policy of any government, whether
   lawful or otherwise; or

G. Any act or threatened act of force, violence or criminal conduct which has been labeled, identified or described as a
   terrorist act by the executive branch of the United States government.




                   ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.



RIL 2126 (11/09)                                                                                               Page 1 of 1
                                                          Insured
        21-22108-rdd
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                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                    DISCRIMINATION EXCLUSION

It is agreed that this policy does not apply to any liability resulting from discrimination based on, but not limited to, race,
color, creed, sex, religion, age, national origin, handicap or sexual preference, etc., whether or not for alleged violation of
any federal, state or local governmental law or regulation prohibiting such discrimination.




                  ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.


CEE 244 (11/91)                                                                                                   Page 1 of 1
                                                           Insured
       21-22108-rdd
Policy Number: RXL0261775
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                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                      MINIMUM EARNED PREMIUM AGREEMENT

It is understood and agreed that in the event this policy is cancelled at the request of the Named Insured, or for
nonpayment of premium, the Minimum Premium (as shown on the policy Declaration page), or the earned premium,
whichever is greater, shall be charged.




                  ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.


CEE 283 (11/91)                                                                                        Page 1 of 1
                                                     Insured
        21-22108-rdd
Policy Number:         Doc 468
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                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                 PROPERTY DAMAGE LIMITATION
                                      REAL PROPERTY

It is agreed that this policy shall not apply to any liability for property damage to real property:

1. Owned or occupied by or rented to an insured;

2. Used by an insured; or

3. In the care, custody or control of an insured or as to which an insured is for any purpose exercising physical control.




                   ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.


CEE 310 (11/91)                                                                                                    Page 1 of 1
                                                            Insured
        21-22108-rdd
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                                                                                                RLI Insurance Company
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                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                       UNIMPAIRED AGGREGATE ENDORSEMENT

In consideration of the premium charged, it is agreed that:

1. All aggregate limits in the underlying insurance are in full force and effect on and as of the inception date of this
   policy;

2. Any and all subsequent reductions in the aggregate(s) in the underlying insurance, for occurrences which took
   place prior to the effective date of this policy, regardless of when claim for same is first made to the insured or the
   underlying insurer, shall not affect the application of an unimpaired underlying insurance aggregate to the insurance
   afforded by this policy;

3. Any and all such differences between the unimpaired and impaired underlying insurance aggregate(s) as created by
   2. above, shall become the sole responsibility of the insured, for his own account.




                  ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.


CEE 335 (11/91)                                                                                               Page 1 of 1
                                                          Insured
        21-22108-rdd
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                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                       POLLUTION EXCLUSION

This insurance does not apply to:

1. Bodily injury, property damage, personal injury, or advertising injury arising out of the actual, alleged or
   threatened discharge, dispersal, seepage, migration, release or escape of pollutants; or

2. Any loss, cost or expense arising out of any:

    a. Request, demand or order that any insured or others test for, monitor, clean up, remove, contain, treat, detoxify
       or neutralize, or in any way respond to, or assess the effects of pollutants; or

    b. Claim or suit by or on behalf of any person, organization or governmental authority for damages because of
       testing for, monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
       responding to, or assessing the effects of pollutants.

Pollutants means any solid, liquid, gaseous or thermal irritant or contaminant, including smoke, vapor, soot, airborne
fibers, fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or reclaimed.
Pollutants also include electromagnetic fields and electromagnetic radiation across the entire frequency spectrum.




                  ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.


CEE 357 (05/12)                                                                                             Page 1 of 1
                                                        Insured
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                                                                                                        RLI Insurance Company
                                                     Pg 103 of 189

                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


CONTINUOUS OR PROGRESSIVE INJURY AND DAMAGE EXCLUSION

This insurance does not apply to any damages because of or related to bodily injury, property damage or personal
injury:

1. Which first existed, or alleged to have first existed, prior to the inception date of this policy; or

2. Which are, or are alleged to be, in the process of taking place prior to the inception date of this policy, even if the
   actual or alleged bodily injury, property damage or personal injury continues during this policy period; or

3. Which were caused, or are alleged to have been caused, by the same condition which resulted in bodily injury,
   property damage or personal injury which first existed prior to the inception date of this policy.

We shall have no duty to defend any insured against any loss, claim, suit, or other proceeding alleging damages arising
out of or related to bodily injury, property damage or personal injury to which this endorsement applies.




                   ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.


CEE 396 (11/01)                                                                                                    Page 1 of 1
                                                             Insured
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                                                                                                 RLI Insurance Company
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                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                             BREACH OF CONTRACT EXCLUSION

This insurance does not apply, nor do we have a duty to defend any claim or suit for bodily injury, property damage,
personal injury or advertising injury arising directly or indirectly out of the following:

1. Breach of express or implied contract;

2. Breach of express or implied warranty;

3. Fraud or misrepresentation regarding the formation, terms or performance of a contract; or

4. Libel, slander or defamation arising out of or within the contractual relationship.




                  ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.


CEE 397 (12/01)                                                                                             Page 1 of 1
                                                           Insured
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                                                                                                 RLI Insurance Company
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                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                         Commercial Excess Liability
                                      Commercial Excess Umbrella Liability


         PROPERTY DAMAGE LIMITATION – PERSONAL PROPERTY

This insurance does not apply to any liability for property damage to personal property:

1. Owned by, leased, or rented to an insured;

2. Used by an insured; or,

3. In the care, custody or control of an insured or as to which an insured is for any purpose exercising physical control.




                  ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.


CEE 402 (03/00)                                                                                                Page 1 of 1
                                                         Insured
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                                                                                                  RLI Insurance Company
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                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                          NEW YORK CHANGES

This endorsement modifies insurance provided under the following:

COMMERCIAL EXCESS LIABILITY POLICY
COMMERCIAL EXCESS UMBRELLA LIABILITY POLICY

A. Paragraph I. of SECTION IV. CONDITIONS is replaced by the following:

   I.   Legal Action Against Us

        1. Except as provided in Paragraph 2., no legal action shall be brought against us unless the insured has fully
           complied with all terms of this policy. In addition, no legal action shall be brought against us until the amount
           of the insured's obligation to pay has been finally determined. The insured’s obligation to pay must be finally
           determined either by judgment against the insured after actual trial or by written agreement between us, the
           insured and the claimant.

        2. With respect to bodily injury and personal and advertising injury claims, if we deny coverage or do not admit
           liability because an insured or the injured person, someone acting for the injured person or other claimant fails
           to give us written notice as soon as practicable, then the injured person, someone acting for the injured
           person or other claimant may bring an action against us, provided the sole question is whether the denial of
           coverage or nonadmission of liability is based on the failure to provide timely notice.

            However, the injured person, someone acting for the injured person or other claimant may not bring an action
            if within sixty (60) days after we deny coverage or do not admit liability, we or an insured:

            a. Brings an action to declare the rights of the parties under the policy; and

            b. Names the injured person, someone acting for the injured person or other claimant as a party to the
               action.

B. The following provision is added and supersedes any provision to the contrary:

   Failure to give notice to us as required under this policy shall not invalidate any claim made by the insured, injured
   person or any other claimant, unless the failure to provide such timely notice has prejudiced us. However, no claim
   made by the insured, injured person or other claimant will be invalidated if it shall be shown not to have been
   reasonably possible to give such timely notice and that notice was given as soon as was reasonably possible
   thereafter.




                  ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.


CEE 431 (07/11)                                                                                                 Page 1 of 1
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                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    EXCLUSION – RESIDENTIAL DEVELOPMENTS

This insurance does not apply to bodily injury, property damage or personal and advertising injury arising from your
work on residential developments. However, this exclusion does not apply if:

1. The work on residential developments:

   a. Is performed for the individual dwellings owners;

   b. The individual dwelling and its improvements were completed and certified for occupancy prior to the
      commencement of your operations; and

   c. No more than fifty percent (50%) of the original square footage of that individual dwelling or its improvements is
      replaced in the course of your operations.

2. The work is performed on apartment complexes.

   As used in this endorsement:

   Residential developments include but are not limited to single and multi-family dwellings (including condominiums),
   coach houses, driveways, retaining walls, detached garages, sewer and water lines, parking lots, fences, swimming
   pools, grading of land, and landscaping.




                  ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.


CUE 600 (11/03)                                                                                             Page 1 of 1
                                                          Insured
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                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                       AMENDMENT – CANCELLATION PROVISIONS

The Cancellation provisions under the policy Conditions are amended as follows:

1. The first Named Insured shown in the Declarations may cancel this policy by mailing or delivering to us or any of our
   authorized agents advance written notice of cancellation.

2. We may cancel this policy by mailing or delivering to the first Named Insured written notice of cancellation:

    a. At least ten (10) days before the effective date of cancellation if we cancel for nonpayment of premium; or

    b. Equal to the number of days of cancellation of any underlying policy, but not to exceed sixty (60) days before the
       effective date of cancellation, if we cancel for any other reason.

3. We will mail or deliver our notice to the first Named Insured’s last mailing address known to us.

4. Notice of cancellation will state the effective date of cancellation. The policy period will end on that date.

5. If this policy is cancelled, we will send the first Named Insured any premium refund due. If we cancel, the refund will be
   pro rata. If the first Named Insured cancels, the refund will be computed at ninety percent (90%) of pro rata. The
   cancellation will be effective even if we have not made or offered a refund.

6. If notice is mailed, proof of mailing will be sufficient proof of notice.




                   ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.


CUE 604 (05/04)                                                                                                     Page 1 of 1
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                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                   ABSOLUTE SILICA EXCLUSION

It is agreed that:

1. This policy does not apply to "bodily injury," "property damage," or "personal and advertising injury" in any way or to
   any extent arising out of or involving silica, silica particles or dust, or any product containing silica or used to control
   silica, or any product or action used or taken to protect any person from exposure to silica in any form.

2. This policy does not apply to "economic loss," "diminution of property," "abatement costs," or any other loss, cost, or
   expense including "equitable relief," in any way or to any extent arising out of or involving silica, silica particles or dust,
   or any product containing silica or used to control silica or any product or action used or taken to protect any person
   from exposure to silica in any form.

3. This policy provides no coverage for any fees, costs, or expenses of any nature whatsoever in the investigation or de-
   fense of any claim or "suit" arising out of or involving silica, silica particles or dust, or any product containing silica or
   used to control silica or any product or action used or taken to protect any person from exposure to silica in any form.

For the purpose of this exclusion only, the following additional terms are defined:

"Abatement costs" means any actual or potential damages, costs, fees, or expenses, including the costs of inspection,
removal or replacement.

"Diminution of property" means the diminishing or lessening in value of property.

"Economic loss" means any actual or potential damages, costs, fees, expenses, or lost profits arising out of or involving
the manufacture or utilization of a good or product.

"Equitable relief" means any remedy or relief, including restitution or injunctive relief, sought in a court with equitable
powers.




                     ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.


CUP 437 (10/03)                                                                                                      Page 1 of 1
                                                            Insured
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                                   EXHIBIT C
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95 Wythe Acquisition LLC and
Dimyon Development Corp.
Page 2
Our File: 1017.42536

96 Wythe Avenue, Brooklyn, New York. The complaint alleges, inter alia, 96 Wythe
Acquisition LLC, was the owner of the premises, and Dimyon Development Corp, was the
general contractor. Plaintiff asserts claims against all of the defendants premised upon violations
of the New York Law Labor and general principles of negligence. A derivative cause of action
is asserted by Nina Ramirez for loss of services.

        In the Mencia matter, plaintiff claims to have sustained serious bodily injury in a
construction related accident that occurred on September 18, 2015. At the time of the incident,
Gerson Mencia, an employee of C.I. Interiors Inc., alleges that he was injured when he fell from
a ladder at a worksite located at 96 Wythe A venue, Brooklyn, New York. Plaintiff alleges, inter
alia, 96 Wythe Acquisition LLC, was the owner of the premises, and Dimyon Development
Corp, was the general contractor. Plaintiff asserts claims premised upon violations of the New
York Law Labor and general principles of negligence as against both 96 and Dimyon.

       Discovery has revealed the project located at 96 Wythe Avenue in Brooklyn was for the
construction of a 10-story building. Building records for the project confirm the same.

        Based upon the foregoing, SNIC is reserving the right to disclaim any obligation to
indemnify 96 and Dimyon in both the Ramirez and Mencia matters, to the extent it is determined
that the project was for other than the demolition of one (1) vacant commercial building and the
ground up construction of a seven (7) story, one hundred fifty-five (155) room hotel, 90,000 SQ
FT located at: 96 Wythe Avenue, Brooklyn, New York 11211.

        In addition, to the extent there is an indemnity obligation owed by SNIC to any insured
under the aforementioned policy, the payments will be limited to the per occurrence limit of $1M
subject to the maximum payment of a total of $1.5M for any and all remaining claims or for any
future claims that may be made.

                                        SNIC POLICY

       The SNIC policy contains the following relevant provisions:

              SECTION I - COVERAGES
              COVERAGE A BODILY                 INJURY       AND     PROPERTY
              DAMAGE LIABILITY

              1.     Insuring Agreement
                     a.     We will pay those sums that the insured becomes
                            legally obligated to pay as damages because of
                            "bodily injury" or "property damage" to which this
                            insurance applies. We will have the right and duty
                            to defend the insured against any "suit", seeking
                           those damages. However, we will have no duty to
                            defend the insured against any "suit" seeking
                           damages for "bodily injury" or "property damage"
                           to which this insurance does not apply. We may, at
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